                         Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 1 of 88




                   1    David B. Owens (Bar No. 275030)        Marci L. Miller (Bar No. 162790)
                        david@loevy.com                         marci@milleradvocacy.com
                   2    Mike Kanovitz (pro hac vice)            Christina N. Hoffman (Bar No. )
                   3    mike@loevy.com                          choffman@milleradvocacy.com
                        Scott R. Drury (pro hac vice)           MILLER ADVOCACY GROUP PC
                   4    drury@loevy.com                         1303 Avocado Ave., Suite 230
                   5    LOEVY & LOEVY                           Newport Beach, California 92660
                        311 N. Aberdeen, 3rd Floor               (949) 706-9734 (phone)
                   6    Chicago, Illinois 60607                  (949) 266-8069 (fax)
                   7    (312) 243-5900 (phone)
                        (312) 243-5902 (fax)
                   8                             Attorneys for Plaintiffs
                   9
                                               UNITED STATES DISTRICT COURT
                   10                     CENTRAL DISTRICT OF CALIFORNIA
                   11   TODD HURVITZ, individually, and on
                   12   behalf of all others similarly situated,
                                                                   Case No. 2:20-cv-3400 (PA)(JPRx)
                   13                      Plaintiff,
Attorneys at Law
 LOEVY & LOEVY




                   14                                              FIRST AMENDED COMPLAINT
                                     v.                            FOR DAMAGES AND
                   15                                              EQUITABLE RELIEF
                   16   FACEBOOK and LINKEDIN
                        CORPORATION,                               CLASS ACTION
                   17
                   18                      Defendants.             DEMAND FOR JURY TRIAL

                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27
                                                                -1-
                   28                           FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 2 of 88




                   1          Pursuant to Federal Rule of Civil Procedure 15(a), Plaintiff Todd Hurvitz, by his

                   2    attorneys, submits this First Amended Class Action Complaint against Defendants
                   3
                        Facebook and LinkedIn Corporation (“LinkedIn”) (collectively, “Defendants”), on
                   4
                   5    behalf of himself and all others similarly situated, and alleges, upon personal knowledge

                   6    as to his own actions and his counsel’s investigations, and upon information and belief
                   7
                        as to all other matters, as follows:
                   8
                   9                                       INTRODUCTION

                   10         1.     Defendant Facebook is one of the most popular social media platforms in
                   11
                        the world. While Facebook does not charge those who use its platform, it monetizes
                   12
                   13   users by collecting data about them and then using that data in connection with its
Attorneys at Law
 LOEVY & LOEVY




                   14   targeted advertising business.
                   15
                              2.     Defendant LinkedIn is another popular social media platform that offers
                   16
                   17   free use of its services, as well as paid memberships. Like Defendant Facebook,
                   18   LinkedIn monetizes customers by collecting data about them and then using that data
                   19
                        to offer other services it sells to customers.
                   20
                   21         3.     In their quest to amass increasingly detailed profiles about individual
                   22   members of the public and generate increased revenues, Defendants Facebook and
                   23
                        LinkedIn have intentionally and surreptitiously: (a) collected data from persons who
                   24
                   25   logged into third-party websites or used third-party software applications (“App”)
                   26
                   27
                                                                     -2-
                   28                                FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 3 of 88




                   1    (collectively, “third-party platforms”) that had certain Facebook or LinkedIn software

                   2    development kits (“SDKs”) and/or application program interfaces (“APIs”) installed or
                   3
                        integrated into the website or App – regardless of whether the person was a Facebook
                   4
                   5    or LinkedIn member and regardless of whether the person was logged into his Facebook

                   6    or LinkedIn account; (b) intercepted, and endeavored to intercept, the electronic
                   7
                        communications between members of the public and third-party platforms; and (c) used
                   8
                   9    and disclosed, and endeavored to use and disclose, the contents of the electronic

                   10   communications between members of the public and third-party platforms.
                   11
                              4.     For example, unbeknownst to members of the public who installed, opened
                   12
                   13   or closed a third-party app that utilized the “Login with Facebook” feature of Defendant
Attorneys at Law
 LOEVY & LOEVY




                   14   Facebook’s SDK for iOS (the “Login with Facebook Feature”), Facebook intentionally
                   15
                        and surreptitiously: (a) intercepted, and endeavored to intercept, the electronic
                   16
                   17   communications between the users’ devices and the third-party apps, even if the users
                   18   did not have a Facebook account or were not logged into their Facebook accounts; and
                   19
                        (b) used, and endeavored to use, the contents of the electronic communications between
                   20
                   21   the users and the third-party apps. Alternatively, Facebook gained unauthorized access
                   22   to the third-party apps’ servers and accessed the stored content of the electronic
                   23
                        communications between the third-party apps and their users.
                   24
                   25         5.     Similarly, unbeknownst to members of the public using third-party
                   26
                   27
                                                                   -3-
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 4 of 88




                   1    platforms that utilized Defendant LinkedIn’s Sales Navigator API (“Navigator”), upon

                   2    logging into or opening the third-party platform, LinkedIn intentionally and
                   3
                        surreptitiously: (a) intercepted, and endeavored to intercept, the electronic
                   4
                   5    communications between the users’ devices and the third-party platforms, even if the

                   6    users did not have a LinkedIn account or were not logged into their LinkedIn accounts;
                   7
                        and (b) used, and endeavored to use, the contents of the electronic communications
                   8
                   9    between the users and the third-party platforms. Alternatively, LinkedIn gained

                   10   unauthorized access to the third-party platforms’ servers and accessed the stored content
                   11
                        of the electronic communications between the third-party platforms and their users.
                   12
                   13   LinkedIn used this information to provide members who subscribed to its Navigator
Attorneys at Law
 LOEVY & LOEVY




                   14   service with the identities and LinkedIn profiles of users of the specified third-party
                   15
                        platform, even if those persons took steps to conceal their identities.
                   16
                   17         6.     Defendants Facebook and LinkedIn were not parties to the electronic
                   18   communications at issue and engaged in their unlawful conduct without the consent or
                   19
                        authorization of either party to the communications.
                   20
                   21         7.     Defendants Facebook and LinkedIn engaged in their unlawful conduct in
                   22   order to amass increasingly detailed profiles of the online public, which information
                   23
                        they used to generate increased revenues through the sale of advertising, services and
                   24
                   25   products.
                   26
                   27
                                                                    -4-
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 5 of 88




                   1          8.     Plaintiff brings this action for statutory, compensatory and punitive

                   2    damages, as well as declaratory and injunctive relief, in order to: (a) require Defendants
                   3
                        to provide monetary relief for their unlawful, unfair and deceptive conduct; (b) require
                   4
                   5    Defendants to disgorge their ill-gotten gains; and (c) prevent and preclude Defendants

                   6    from engaging in similar conduct in the future.
                   7
                                                               PARTIES
                   8
                   9          9.     Plaintiff Todd Hurvitz is a California resident, residing in the Central

                   10   District of California.
                   11
                              10.    Defendant Facebook is a Delaware corporation, with its corporate
                   12
                   13   headquarters in Menlo Park, California. Facebook’s 2019 revenue totaled
Attorneys at Law
 LOEVY & LOEVY




                   14   approximately $71 billion. As of December 2019, Facebook averaged 2.50 billion
                   15
                        monthly active users. According to a recent filing with the United States Security and
                   16
                   17   Exchange Commission: (a) Facebook is a social network that generates substantially all
                   18   of its revenue from selling advertising placements to marketers; (b) Facebook ads allow
                   19
                        marketers to reach people based on various factors including age, gender, behaviors,
                   20
                   21   location and interests; and (c) Facebook’s advertising revenue depends on “targeting
                   22   and measurement tools that incorporates data signals from user activity on websites.”
                   23
                              11.    Defendant LinkedIn is a Delaware subsidiary of Microsoft Corporation
                   24
                   25   (“Microsoft”), with its corporate headquarters in Sunnyvale, California. According to
                   26
                   27
                                                                    -5-
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 6 of 88




                   1    Microsoft’s 2019 Annual Report, LinkedIn is the “world’s largest professional network

                   2    on the Internet” with revenue totaling $5.3 billion. Among the products offered by
                   3
                        LinkedIn at relevant times was Navigator, a sales tool that provided automated targeting
                   4
                   5    of prospective customers. The minimum annual fee for access to Navigator was $780.

                   6                               JURISDICTION AND VENUE
                   7
                              12.    This Court has jurisdiction pursuant to 28 U.S.C. § 1332(d)(2) (the “Class
                   8
                   9    Action Fairness Act”) because sufficient diversity of citizenship exists between the

                   10   parties in this action, the aggregate amount in controversy exceeds $5,000,000,
                   11
                        exclusive of interests and costs, and there are 100 or more members of the Class.
                   12
                   13         13.    This Court has personal jurisdiction over Defendants Facebook and
Attorneys at Law
 LOEVY & LOEVY




                   14   LinkedIn because each is headquartered in California, marketed and sold its products
                   15
                        and services to California consumers and businesses and exposed California residents
                   16
                   17   to ongoing privacy risks created by its conduct.
                   18         14.    Venue is proper under 28 U.S.C. § 1391(b)(1) and (2) because: (a) both
                   19
                        Defendants reside in the Central District of California; and (b) a substantial part of the
                   20
                   21   acts or omissions giving rise to the claims alleged herein occurred in the Central District
                   22   of California. For instance:
                   23
                                     a.     Plaintiff Hurvitz resides in the Central District of California and
                   24
                   25   used third-party platforms that utilized Login with Facebook and/or Navigator –
                   26
                   27
                                                                       -6-
                   28                                  FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 7 of 88




                   1    including a software application offered by Zoom Video Communications, Inc.

                   2    (“Zoom”) – in the Central District of California. Defendants Facebook and LinkedIn
                   3
                        surreptitiously intercepted communications between Plaintiff and the third-party
                   4
                   5    platforms that originated from Plaintiff’s devices in the Central District of California.

                   6    The harm Plaintiff suffered as a result of Defendants’ conduct occurred in the Central
                   7
                        District of California.
                   8
                   9                 b.     Defendant Facebook has a substantial presence within the Central

                   10   District of California. Since approximately 2008, Facebook has maintained a corporate
                   11
                        office in the Central District which, as of approximately 2019, encompassed 260,000
                   12
                   13   square feet of office space. The Central District corporate office houses various
Attorneys at Law
 LOEVY & LOEVY




                   14   Facebook executives, including the head of North America entertainment media
                   15
                        partnerships and the head of development for the Facebook video service Facebook
                   16
                   17   Watch.
                   18                c.     Defendant Facebook derives substantially all of its revenue from
                   19
                        selling advertising placement to marketers, who can target customers based on
                   20
                   21   geography. Facebook’s active user base – the potential consumers that power the
                   22   company’s ad sales – comprise almost 70% of the U.S. adult population. Based on this
                   23
                        figure, on information and belief, Facebook targeted its unlawful conduct, as alleged
                   24
                   25
                   26
                   27
                                                                    -7-
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 8 of 88




                   1    herein, at thousands of Central District of California residents, including residents who

                   2    are not Facebook users.
                   3
                                     d.    Defendant LinkedIn is company with an estimated 133 million
                   4
                   5    American users. Based on this figure, on information and belief, LinkedIn targeted its

                   6    unlawful conduct, as alleged herein, at thousands of Central District of California
                   7
                        residents, including residents who are not LinkedIn members.
                   8
                   9                                  FACTUAL ALLEGATIONS

                   10   SDKs and APIs
                   11
                              15.    An SDK is a compilation of tools, code, processes and guides used for
                   12
                   13   creating software applications on a specific platform. An SDK is akin to “one-stop
Attorneys at Law
 LOEVY & LOEVY




                   14   shopping,” in that an SDK provides everything necessary to address an issue a website
                   15
                        developer seeks to resolve.
                   16
                   17         16.    An API is an interface that allows software to interact with other software.
                   18   Unlike an SDK, is not all-encompassing. Rather, an API allows one platform to
                   19
                        communicate with another platform.
                   20
                   21   Defendants’ Use of SDKs and APIs
                   22         17.    To increase revenue and market reach, Defendants Facebook and LinkedIn
                   23
                        offered various SDKs and APIs to third parties.
                   24
                   25
                   26
                   27
                                                                      -8-
                   28                                 FIRST AMENDED CLASS ACTION COMPLAINT
                               Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 9 of 88




                   1            The Login with Facebook Feature

                   2            18.   At relevant times, Defendant Facebook made the Facebook SDK for iOS
                   3
                        available to third parties for incorporation into their platforms. Features that could be
                   4
                   5    integrated into a third-party platform via the Facebook SDK for iOS included

                   6    Facebook’s “Like” button and the Login with Facebook Feature which allowed a third-
                   7
                        party app user to log into the third-party app using his Facebook login credentials.
                   8
                   9            19.   Third-party apps that utilized the Login with Facebook Feature typically

                   10   would have a Login with Facebook button – as depicted below – integrated into the
                   11
                        app:
                   12
                   13
Attorneys at Law
 LOEVY & LOEVY




                   14
                   15
                                20.   A third-part app operator that integrated the Login with Facebook Feature
                   16
                   17   into its apps had the ability to set various “permissions” that the feature would allow
                   18   the app to collect from users. For instance, a third-party app operator could set the
                   19
                        “permissions” to allow the Login with Facebook Feature to provide the app operator
                   20
                   21   with users’ public Facebook profiles and email addresses, as depicted in the image
                   22   below:
                   23
                   24
                   25
                   26
                   27
                                                                    -9-
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 10 of 88




                   1
                   2
                   3
                   4
                   5
                   6
                   7
                   8
                   9          21.    Defendant Facebook promoted the Login with Facebook Feature as a way

                   10   for a third-party operator: (a) to allow users to more easily create an account with the
                   11
                        third-party; and (b) to access users’ data.
                   12
                   13         22.    However, Defendant Facebook did not disclose to third-party app
Attorneys at Law
 LOEVY & LOEVY




                   14   operators that the Login with Facebook Feature gave Facebook the ability to intercept
                   15
                        electronic communications between the third-party apps and their users. Facebook did
                   16
                   17   not seek, nor receive, consent from third-party app developers to intercept electronic
                   18   communications between third-party apps and their users.
                   19
                              23.    Defendant Facebook did not seek, nor receive, consent from users of third-
                   20
                   21   party apps that utilized the Login with Facebook Feature to intercept the electronic
                   22   communications between the users’ devices and the third-party apps.
                   23
                   24
                   25
                   26
                   27
                                                                     - 10 -
                   28                                FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 11 of 88




                   1          The Navigator API

                   2          24.    At relevant times, Defendant LinkedIn allowed third-party platforms to
                   3
                        integrate Navigator into their platforms via an API.
                   4
                   5          25.    The Navigator API allowed users of third-party platforms to access the

                   6    LinkedIn profiles of other users of the platforms. The profile information provided was
                   7
                        displayed in a format similar to that depicted below:
                   8
                   9
                   10
                   11
                   12
                   13
Attorneys at Law
 LOEVY & LOEVY




                   14
                   15
                   16
                   17
                   18
                   19
                   20
                   21
                              26.    Defendant LinkedIn did not disclose to third-party platform operators that
                   22
                   23   integration of the Navigator API gave LinkedIn the ability to intercept electronic

                   24   communications between the third-party platforms and their users. LinkedIn did not
                   25
                   26
                   27
                                                                   - 11 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 12 of 88




                   1    seek, nor receive, consent from third-party platform developers to intercept electronic

                   2    communications between third-party platforms and their users.
                   3
                              27.    Defendant LinkedIn did not seek, nor receive, consent from users of third-
                   4
                   5    party platforms that utilized Navigator to intercept the electronic communications

                   6    between the users’ devices and the third-party platforms.
                   7
                        Defendants’ Unlawful Interception, Use and/or Disclosure of Electronic
                   8    Communications
                   9
                              Defendant Facebook
                   10
                   11         28.    Defendant Facebook designed the Login with Facebook Feature to provide

                   12   it with a way to spy on the content of electronic communications between third-party
                   13
Attorneys at Law




                        apps and their users contemporaneously with those communications taking place.
 LOEVY & LOEVY




                   14
                   15         29.    Via   the   Login    with    Facebook     Feature,    Defendant   Facebook

                   16   surreptitiously, contemporaneously and intentionally intercepted, and endeavored to
                   17
                        intercept, the electronic communications between third-party apps that had integrated
                   18
                   19   feature into their apps and users of those apps.
                   20         30.    Similarly, via the Login with Facebook Feature, Defendant Facebook
                   21
                        surreptitiously and intentionally used, and endeavored to use, the contents of the
                   22
                   23   electronic communications between third-party apps that had integrated the feature into
                   24   the apps and users of the third-party apps.
                   25
                   26
                   27
                                                                    - 12 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 13 of 88




                   1          31.   Defendant Facebook engaged in the above-described conduct regardless

                   2    of whether a third-party app user was a Facebook member and regardless of whether
                   3
                        the app user was logged into his Facebook account.
                   4
                   5          32.     In the alternative, via the Login with Facebook Feature, Defendant

                   6    Facebook intentionally and without authorization accessed a facility through which an
                   7
                        electronic communication service was provided – namely, third-party apps – and
                   8
                   9    obtained access to electronic communications while those communications were in

                   10   electronic storage. Facebook engaged in this conduct regardless of whether a third-
                   11
                        party app user was a Facebook member and regardless of whether the user was logged
                   12
                   13   into his Facebook account.
Attorneys at Law
 LOEVY & LOEVY




                   14         33.   Defendant Facebook engaged in the conduct alleged herein without the
                   15
                        consent or authorization of either party to the electronic communications.
                   16
                   17         34.   For example, at relevant times, Zoom offered an app that integrated the
                   18   Login with Facebook Feature. In a recent statement, Zoom stated that it had integrated
                   19
                        the Login with Facebook Feature as a convenient way for Zoom users to access its
                   20
                   21   platform. According to Zoom, it was unaware of Facebook’s surreptitious interception
                   22   of electronic communications between Zoom users and Zoom.
                   23
                              35.   Defendant Facebook engaged in deceptive conduct to conceal its unlawful
                   24
                   25   conduct.
                   26
                   27
                                                                     - 13 -
                   28                                FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 14 of 88




                   1          36.    By intercepting the electronic communications between third-party apps

                   2    and their users, Defendant Facebook amassed increasingly detailed profiles third-party
                   3
                        app users, which profiles Facebook then used in the marketing and execution of its
                   4
                   5    targeted advertising business.

                   6          37.    Defendant Facebook unjustly enriched itself through its intentional and
                   7
                        surreptitious: (a) interception of electronic communications between third-party apps
                   8
                   9    and their users; and (b) use of the contents of those electronic communications.

                   10   Facebook’s unlawful conduct allowed it to: (a) amass increasingly detailed profiles on
                   11
                        users of the third-party apps; and (b) increase its advertising business revenues by
                   12
                   13   marketing its ability to target advertisements based on the detailed personal profiles it
Attorneys at Law
 LOEVY & LOEVY




                   14   possessed.
                   15
                              38.    Alternatively,    Defendant     Facebook      unjustly   enriched   itself   by
                   16
                   17   intentionally and without authorization accessing a facility through which an electronic
                   18   communication service was provided – namely, third-party apps – and obtaining access
                   19
                        to electronic communications while those communications were in electronic storage.
                   20
                   21   Facebook’s unlawful conduct allowed it to: (a) amass increasingly detailed profiles on
                   22   users; and (b) increase its advertising business revenues by marketing its ability to target
                   23
                        advertisements based on the detailed personal profiles it possessed.
                   24
                   25
                   26
                   27
                                                                      - 14 -
                   28                                 FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 15 of 88




                   1          Defendant LinkedIn

                   2          39.    Defendant    LinkedIn    designed    Navigator       API   to    allow   it   to
                   3
                        contemporaneously intercept, and endeavor to intercept, the electronic communications
                   4
                   5    between the third-party platforms and their users.

                   6          40.    Via   the   Navigator    API,    Defendant       LinkedIn       surreptitiously,
                   7
                        contemporaneously and intentionally intercepted, and endeavored to intercept,
                   8
                   9    electronic communications between third-party platforms that had integrated Navigator

                   10   API into their platforms and the platforms’ users, regardless of whether a user was a
                   11
                        LinkedIn member and regardless of whether the user was logged into his LinkedIn
                   12
                   13   account.
Attorneys at Law
 LOEVY & LOEVY




                   14         41.    After Defendant LinkedIn intercepted the electronic communications
                   15
                        described above, it then used and disclosed, and endeavored to use and disclose, the
                   16
                   17   contents of those electronic communications to better market its products and services
                   18   in order to generate increased revenues.
                   19
                              42.     In the alternative, via the Navigator API integration, Defendant LinkedIn
                   20
                   21   intentionally and without authorization accessed a facility through which an electronic
                   22   communication service was provided – namely, third-party platforms – and obtained
                   23
                        access to electronic communications while those communications were in electronic
                   24
                   25
                   26
                   27
                                                                   - 15 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 16 of 88




                   1    storage. LinkedIn engaged in this conduct regardless of whether a user was a LinkedIn

                   2    member and regardless of whether the user was logged into his LinkedIn account.
                   3
                              43.   The personal information Defendant LinkedIn learned from the above-
                   4
                   5    described conduct included users’ persistent identifiers and other details that allowed

                   6    LinkedIn to identify the users by name and LinkedIn profile, even when the users sought
                   7
                        to keep their identities anonymous.
                   8
                   9          44.   Defendant LinkedIn engaged in the conduct alleged herein without the

                   10   consent or authorization of either party to the electronic communications.
                   11
                              45.   For example, at relevant times, Zoom integrated the Navigator API into its
                   12
                   13   platforms. Zoom was not aware that integration of the Navigator API allowed
Attorneys at Law
 LOEVY & LOEVY




                   14   Defendant LinkedIn to surreptitiously intercept the electronic communications between
                   15
                        Zoom users and Zoom. Upon learning this fact, Zoom permanently removed the
                   16
                   17   Navigator API from its platform.
                   18         46.   By obtaining the content of users’ electronic communications with third
                   19
                        parties, Defendant LinkedIn amassed increasingly detailed profiles of the users of the
                   20
                   21   third-party platforms for use in marketing and selling Navigator and other products and
                   22   services.
                   23
                              47.   Defendant LinkedIn unjustly enriched itself through the intentional and
                   24
                   25   surreptitious: (a) interception of electronic communications between third-party
                   26
                   27
                                                                   - 16 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 17 of 88




                   1    platforms and their users; and (b) use and disclosure of the contents of those

                   2    communications in order to increase sales of Navigator and other LinkedIn services and
                   3
                        products.
                   4
                   5          48.    Alternatively, Defendant LinkedIn unjustly enriched itself by intentionally

                   6    and without authorization accessing a facility through which an electronic
                   7
                        communication service was provided – namely, third-party platforms – and obtaining
                   8
                   9    access to electronic communications while those communications were in electronic

                   10   storage in order to increase sales of Navigator and other LinkedIn services and products.
                   11
                        Reasonable Expectation of Privacy
                   12
                   13         49.    As alleged in more detail below, the users of the third-party platforms that
Attorneys at Law
 LOEVY & LOEVY




                   14   had integrated the Login with Facebook Feature and/or the Navigator API had a
                   15
                        reasonable expectation of privacy in their electronic communications with third-party
                   16
                   17   platforms and the contents of those communications.
                   18         50.    The contents of the communications at issue consisted of, among other
                   19
                        things, users’ personally identifiable and sensitive information, including: (a) iOS
                   20
                   21   Advertiser ID; (b) iOS Timezone; (c) IP Address; (c) iOS Language; (d) iOS Disk Space
                   22   Available; (e) iOS Disk Space Remaining; (f) iOS Device Model; (g) iOS Version; (h)
                   23
                        Device Carrier; (i) iOS Device CPU Cores; (j) Application Bundle Identifier; (k)
                   24
                   25   Application Instance ID; (l) Application Version; (m) on information and belief,
                   26
                   27
                                                                    - 17 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 18 of 88




                   1    referring and exit URLs; and (n) other persistent identifiers by which a user could be

                   2    identified, such as, on information and belief, Android Advertiser IDs and device
                   3
                        identifiers.
                   4
                   5           51.     When a user logs into a platform or opens an app, the substance and

                   6    meaning of the corresponding communication is all of the information collected by the
                   7
                        platform to authenticate and identify the user so that the user may access the platform’s
                   8
                   9    services. Similarly, the purpose of the communication is to allow the platform to

                   10   determine whether to grant the user access to the platform based on the authenticating
                   11
                        and identifying information provided. A user who prevents device and other identifying
                   12
                   13   information – such as that described in the preceding paragraph – from being
Attorneys at Law
 LOEVY & LOEVY




                   14   transmitted to the third-party platform by disabling cookies, using a virtual private
                   15
                        network to mask the user’s internet protocol addresses, or through other methods may
                   16
                   17   be denied access to the platform due to the platform’s inability to properly authenticate
                   18   and identify the user. Thus, as alleged herein, the electronic communications at issue
                   19
                        concerned the substance, purpose and meaning of users’ communications with third-
                   20
                   21   party platforms on which the Login with Facebook Feature and/or the Navigator API
                   22   were integrated.
                   23
                   24
                   25
                   26
                   27
                                                                    - 18 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 19 of 88




                   1          52.    By tracking the referring and exit URLs of users of third-party platforms

                   2    Defendants obtained highly sensitive communications and information about the users,
                   3
                        including their actual web browsing histories.
                   4
                   5          53.    An iOS Advertiser ID or Android Advertiser ID is known as a persistent

                   6    identifier and is particularly sensitive because it is specifically assigned to a user’s
                   7
                        device and can be tracked over time, across platforms and linked to a specific user.
                   8
                   9    When linked to other data points about the same user – such as the data points described

                   10   above – a persistent identifier reveals a personal profile that data collectors like
                   11
                        Defendants Facebook and LinkedIn can exploit.
                   12
                   13         54.    The Federal Trade Commission (“FTC”) has described the way in which
Attorneys at Law
 LOEVY & LOEVY




                   14   companies like Defendants Facebook and LinkedIn can use persistent identifiers in
                   15
                        conjunction with other data points to amass a valuable profile on an individual:
                   16
                   17                [In a recent survey], one ad network received information from
                                     31 different apps. Two of these apps transmitted geolocation to
                   18                the ad network along with a device identifier [a type of persistent
                   19                identifier], and the other 29 apps transmitted other data (such as
                                     app name, device configuration details, and the time and duration
                   20                of use) in connection with a device ID. The ad network could
                   21                thus link the geolocation information obtained through the two
                                     apps to all the other data collected through the other 29 apps
                   22                by matching the unique, persistent device ID. 1
                   23
                   24   1
                         Federal Trade Commission, Mobile Apps for Kids: Disclosures Still Not Making the Grade,
                        at 10, n.25 (Dec. 2012), https://www.ftc.gov/sites/default/files/documents/reports/mobile-
                   25   apps-kids-disclosures-still-not-making-grade/121210mobilekidsappreport.pdf (last accessed
                   26   on Apr. 11, 2020) (emphasis added).

                   27
                                                                    - 19 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 20 of 88




                   1          55.    Defendant Facebook’s and LinkedIn’s unlawful, surreptitious collection

                   2    of personal information of users’ of third-party platforms on which the Login with
                   3
                        Facebook Feature and/or the Navigator API were integrated allowed them to amass
                   4
                   5    increasingly detailed profiles on users showing how, when and why they used the

                   6    platforms, along with other inferences that could be drawn therefrom.
                   7
                              56.    Indeed, by obtaining a user’s iOS Advertiser ID or Android Advertiser ID,
                   8
                   9    along with other information, such as that described above, Defendants Facebook and

                   10   LinkedIn were able to identify the specific user and amass the data collected from the
                   11
                        third-party platforms with other data previously collected by Facebook and LinkedIn,
                   12
                   13   giving them multiple ways to identify the user even if the user took steps to keep his
Attorneys at Law
 LOEVY & LOEVY




                   14   identity anonymous.
                   15
                              57.    Moreover, the combination of either of the Advertiser IDs and other data,
                   16
                   17   such as that described above, better allowed Defendants Facebook and LinkedIn to
                   18   deanonymize a user’s data and reidentify the user. This is significant because many
                   19
                        companies contend that they only share, sell or use personal information in an aggregate
                   20
                   21   and/or anonymized format. By obtaining Advertiser IDs, along with other personal
                   22
                   23
                   24
                   25
                   26
                   27
                                                                   - 20 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 21 of 88




                   1    information, such as that described above, Defendants Facebook and LinkedIn could

                   2    render the concept of anonymized data a nullity. 2
                   3
                              58.    As far back as 1928, Justice Brandeis famously acknowledged American’s
                   4
                   5    right and expectation of privacy, writing that the makers of the Constitution “conferred

                   6    as against the government, the right to be let alone – the most comprehensive of rights
                   7
                        and the most valued by civilized men.” 3
                   8
                   9          59.    The FTC has recognized the public’s expectation of privacy in their online

                   10   data. Speaking to the scope of Section 5 of the FTC Act, 15 U.S.C. § 45, et seq., an FTC
                   11
                        commissioner noted in 2015 that the “FTC first began to apply Section 5 to companies’
                   12
                   13   privacy and data security practices two decades ago,” when “it was clear that the
Attorneys at Law
 LOEVY & LOEVY




                   14   personal data flowing as part of electronic commerce could be used to cause financial
                   15
                        harm to consumers.” 4 The Commissioner further stated that at the time the FTC began
                   16
                   17   applying § 5 to data privacy issues, it was clear that “that personal data practices could
                   18   cause a much broader array of harms.” 5
                   19
                   20
                   21
                        2
                          Luc Rocher, et al., Estimating the Success of Re-Identification in Incomplete Datasets
                   22   Using Generative Models, Nature Communications (July 23, 2019),
                   23   https://www.nature.com/articles/s41467-019-10933-3 (last accessed on Apr. 11, 2020)
                        (discussing reidentification of anonymized data).
                   24   3
                          Olmstead v. United States, 277 U.S. 438, 478 (1928) (Brandeis, J., dissenting).
                        4
                          Julie Brill, U.S. Privacy Law: Hiding in Plain Sight, Federal Trade Comm’n (Apr. 30,
                   25   2015), 2015 WL 1968595, at *2.
                   26
                        5
                          Id.

                   27
                                                                     - 21 -
                   28                                FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 22 of 88




                   1          60.    The public’s growing concern over the privacy of their online information

                   2    is reflected in the increasing number of comprehensive data privacy and data protection
                   3
                        laws that are being introduced in state legislatures across the country and being passed
                   4
                   5    throughout the world. 6

                   6          61.    For instance, in 2018, the General Data Protection Regulation (“GDPR”)
                   7
                        took effect in Europe. 7 The GDPR regulates how companies treat the personal data of
                   8
                   9    EU citizens. 8

                   10         62.    In 2018, Vermont enacted a law the regulates data brokers and requires
                   11
                        them to disclose to individuals the data that is being collected about them and allows
                   12
                   13   individuals to opt out of the collection. 9
Attorneys at Law
 LOEVY & LOEVY




                   14         63.    On January 1, 2020, the California Consumer Privacy Act (“CCPA”) went
                   15
                        into effect. 10 The CCPA “is one of the broadest online privacy laws in the U.S., affecting
                   16
                   17   companies across the country that do business with California residents.” 11
                   18
                   19
                   20
                   21
                        6
                          2019 Consumer Data Privacy Legislation, Nat’l Conf. of State Legis. (Jan. 3, 2020),
                   22   https://www.ncsl.org/research/telecommunications-and-information-
                   23   technology/cybersecurity-legislation-2020.aspx (last accessed on Apr. 26, 2020).
                        7
                          Id.
                   24   8
                          Id.
                        9
                          Id.
                   25   10
                           Id.
                   26
                        11
                           Id.

                   27
                                                                     - 22 -
                   28                                FIRST AMENDED CLASS ACTION COMPLAINT
                                   Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 23 of 88




                   1                64.   In 2019, 25 states introduced over 100 pieces of legislation seeking to

                   2    regulate the privacy of consumer data. 12
                   3
                                    65.   It also well-established in American jurisprudence that snooping on private
                   4
                   5    communications is highly offensive conduct.

                   6                66.   The Federal Wiretap Act of 1968 regulated the interception of telephone
                   7
                        communications.
                   8
                   9                67.   The Electronic Communications Privacy Act of 1986 (“ECPA”) updated

                   10   the Federal Wiretap Act to strictly regulate the interception of computer, digital and
                   11
                        electronic communications.
                   12
                   13               68.   Two components of the ECPA are the Wiretap Act, 18 U.S.C. § 2510, et
Attorneys at Law
 LOEVY & LOEVY




                   14   seq. (the “Wiretap Act”), and the Stored Communications Act, 18 U.S.C. § 2701, et
                   15
                        seq. (the “Stored Communications Act”). The Wiretap Act addresses, in part, the
                   16
                   17   interception, use and disclosure of electronic communications and the contents thereof.
                   18   18 U.S.C. § 2511. The Stored Communications Act addresses, in part, the unauthorized
                   19
                        access of a facility through which an electronic communication service is provided in
                   20
                   21   order to obtain access to an electronic communication that is in electronic storage. 18
                   22   U.S.C. § 2701.
                   23
                   24
                   25
                   26
                        12
                             Id.

                   27
                                                                        - 23 -
                   28                                   FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 24 of 88




                   1    The Market for Data

                   2          69.     Several online companies allow individuals to sell their own data online.
                   3
                              70.     One such company estimates that an individual can earn up $2,000 per
                   4
                   5    year selling his data.

                   6          71.     By unlawfully collecting, distributing and using the data of users of third-
                   7
                        party platforms, Defendants diminished the value of the data and unjustly enriched
                   8
                   9    themselves.

                   10   Defendants’ History of Lax Security and Deceptive Data Privacy Practices
                   11
                              Defendant Facebook
                   12
                   13         72.     Defendant Facebook has a long history of lax security practices and
Attorneys at Law
 LOEVY & LOEVY




                   14   deceptive data privacy practices, as exemplified by the allegations below:
                   15
                              73.     Similar to Defendant Facebook’s conduct here, in 2011, a researcher
                   16
                   17   disclosed that Facebook covertly tracked the websites Facebook users visited when
                   18   users were logged out of Facebook. Facebook began engaging in the conduct in April
                   19
                        2010 and did not cease doing so until the Wall Street Journal published the researcher’s
                   20
                   21   findings in September 2011.
                   22         74.     In 2012, the FTC charged Defendant Facebook with eight separate
                   23
                        privacy-related violations, including that Facebook made misrepresentations regarding
                   24
                   25   users’ ability to control the privacy of their personal data. In response, Facebook agreed
                   26
                   27
                                                                     - 24 -
                   28                                FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 25 of 88




                   1    to change its privacy practices. However, Facebook breached its agreement with the

                   2    FTC, resulting in the FTC imposing a record-setting $5 billion penalty against Facebook
                   3
                        in 2019.
                   4
                   5          75.    In 2015, Defendant Facebook was sued for violating the Illinois Biometric

                   6    Information Privacy Act, 740 ILCS § 14/1, et seq., as a result of a facial recognition
                   7
                        feature that tagged people’s photos. In January 2020, Facebook settled the matter for
                   8
                   9    $550 million.

                   10         76.    In 2018, hackers exploited a vulnerability in Defendant Facebook’s code
                   11
                        and stole the personal information of approximately 29 million Facebook users.
                   12
                   13   Facebook has agreed to settle a consolidated class action arising out of the data breach.
Attorneys at Law
 LOEVY & LOEVY




                   14   As part of the settlement, Facebook has agreed to implement improved security
                   15
                        practices.
                   16
                   17         Defendant LinkedIn
                   18         77.    Defendant LinkedIn also has long a history of lax security practices and
                   19
                        deceptive data privacy practices.
                   20
                   21         78.    In 2010, Defendant LinkedIn experienced a data breach in which a hacker
                   22   obtained the passwords of approximately 6.5 million users. According to reports,
                   23
                        LinkedIn failed to store the passwords in a secure manner. LinkedIn settled the matter
                   24
                   25   for $1.25 million.
                   26
                   27
                                                                    - 25 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 26 of 88




                   1          79.    Between September 2011 and October 31, 2014, Defendant LinkedIn

                   2    imported contacts from users’ external email contacts and then repeatedly emailed those
                   3
                        contacts without obtaining consent to use the users’ names and likenesses. LinkedIn
                   4
                   5    settled the matter for $13 million.

                   6          80.    In November 2018, Ireland’s Data Protection Commissioner found that
                   7
                        Defendant LinkedIn obtained the email addresses of 18 million non-members and then
                   8
                   9    targeted those non-members with Facebook advertisements without their consent.

                   10   LinkedIn subsequently agreed to cease engaging in the conduct.
                   11
                        Allegations Related to Plaintiff Hurvitz
                   12
                   13         81.    At relevant times, Plaintiff Hurvitz – from his residence and other places
Attorneys at Law
 LOEVY & LOEVY




                   14   located within the Central District of California – used devices running the iOS and
                   15
                        macOS operating systems to access third-party platforms that utilized the Login with
                   16
                   17   Facebook Feature and the Navigator API, including Zoom’s platforms.
                   18         82.    Plaintiff Hurvitz did not authorize Defendants Facebook and LinkedIn to
                   19
                        intercept his electronic communications with third-party platforms.
                   20
                   21         83.    Plaintiff Hurvitz did not authorize Defendants Facebook and LinkedIn to
                   22   use and/or disclose the contents of his electronic communications with third-party
                   23
                        platforms.
                   24
                   25
                   26
                   27
                                                                    - 26 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 27 of 88




                   1          84.    Plaintiff Hurvitz did not authorize Defendants Facebook and LinkedIn to

                   2    access third-party platforms he used and obtain his electronic communications with
                   3
                        those platforms while they were in electronic storage.
                   4
                   5          85.    Plaintiff Hurvitz did not consent to the installation of code on his devices

                   6    that served to benefit the collection of his personal information by Defendants Facebook
                   7
                        and LinkedIn.
                   8
                   9          86.    Plaintiff Hurvitz did not have knowledge of the conduct of Defendants

                   10   Facebook and LinkedIn with respect to his data, as alleged herein.
                   11
                        Plaintiff Hurvitz’s and Class Members’ Injuries and Damages
                   12
                   13         87.    As a result of the conduct of Defendants Facebook and LinkedIn, Plaintiff
Attorneys at Law
 LOEVY & LOEVY




                   14   Hurvitz and Class Members have suffered and will continue to suffer severe
                   15
                        consequences, as Defendants’ conduct has, among other things:
                   16
                   17                a.    Diminished the value of the personal information of Plaintiff and
                   18                      Class Members;
                   19
                                     b.    Invaded Plaintiff’s and Class Members’ privacy;
                   20
                   21                c.    Deprived Plaintiff and Class Members of the ability to control the
                   22                      collection, use and distribution of their personal information;
                   23
                                     d.    Deprived Plaintiff and Class Members of their right to control and
                   24
                   25                      to choose how to use their identities for commercial purposes;
                   26
                   27
                                                                    - 27 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 28 of 88




                   1                e.    Inhibited the ability of Plaintiff and Class Members to control the

                   2                      information third parties receive about them;
                   3
                                    f.    Trespassed upon Plaintiff’s and Class Members’ devices; and
                   4
                   5                g.    Precluded Plaintiff and Class Members from conditioning

                   6                      Defendants’ use of their personal information on an agreement to
                   7
                                          provide Plaintiff and Class Members with a portion of the proceeds.
                   8
                   9          88.   Defendants’ wrongful actions have directly and proximately caused

                   10   Plaintiff Hurvitz and Class Members to face the immediate and continuing increased
                   11
                        risk of economic damages and other actual harm for which they are entitled to
                   12
                   13   compensation, including, among others:
Attorneys at Law
 LOEVY & LOEVY




                   14               a.    Damages to, and diminution in the value of, the personal
                   15
                                          information Defendants’ intercepted, used and distributed;
                   16
                   17               b.    Costs associated with reviewing and trying to stop unwanted
                   18                     advertisements and solicitations, such as time taken from the
                   19
                                          enjoyment of one’s life, and the inconvenience, nuisance, cost and
                   20
                   21                     annoyance of dealing with the unwanted solicitations; and
                   22               c.    The loss of Plaintiff’s and Class Members’ privacy.
                   23
                   24
                   25
                   26
                   27
                                                                  - 28 -
                   28                             FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 29 of 88




                   1    Fraudulent Concealment and Tolling

                   2          89.    The applicable statutes of limitations are tolled by virtue of Defendants’
                   3
                        knowing and active concealment of the facts alleged above. Plaintiff Hurvitz and Class
                   4
                   5    Members were ignorant of the information essential to the pursuit of these claims,

                   6    without any fault or lack of diligence on their part.
                   7
                              90.    Defendants’ fraudulent concealment is common to each of the classes
                   8
                   9    defined below.

                   10                            CLASS ACTION ALLEGATIONS
                   11
                              91.    Plaintiff Hurvitz brings this action on behalf of himself as a class action
                   12
                   13   under Federal Rule of Civil Procedure 23, seeking damages and equitable relief on
Attorneys at Law
 LOEVY & LOEVY




                   14   behalf of the following nationwide Class for which Plaintiff seeks certification:
                   15
                                     All persons and businesses in the United States whose electronic
                   16                communications with websites and/or software applications
                   17                were unlawfully intercepted, used and/or disclosed by Facebook
                                     and/or LinkedIn (the “Nationwide Class”).
                   18
                   19         92.    Additionally, Plaintiff Hurvitz brings this action on behalf of the following
                   20   subclass of individuals and businesses seeking damages and relief:
                   21
                                     All persons and businesses in the States of Alabama, Alaska,
                   22                Arizona, Arkansas, California, Colorado, Connecticut,
                   23                Delaware, Georgia, Hawaii, Idaho, Illinois, Iowa, Kansas,
                                     Kentucky, Louisiana, Maine, Maryland, Minnesota,
                   24                Missouri, Nevada, New Hampshire, New Jersey, North
                   25                Carolina, Ohio, Oklahoma, Oregon, Pennsylvania, South
                                     Dakota, Texas, Utah, Vermont, Washington and West
                   26
                   27
                                                                    - 29 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 30 of 88




                   1                 Virginia whose electronic communications with websites
                                     and/or software applications were unlawfully intercepted,
                   2                 used and/or disclosed by Facebook and/or LinkedIn (the
                   3                 “Intrusion Upon Seclusion Subclass”).

                   4          93.    Additionally, Plaintiff Hurvitz brings this action on behalf of a California
                   5
                        subclass seeking damages and equitable relief on behalf of the following:
                   6
                   7                 All persons and businesses in the State of California whose
                                     electronic communications with websites and/or software
                   8                 applications were unlawfully intercepted, used and/or
                   9                 disclosed by Facebook and/or LinkedIn (the “California
                                     Subclass”).
                   10
                   11         94.    Excluded from the Class and Subclasses are: (a) Defendants Facebook and

                   12   LinkedIn; (b) any parent, affiliate or subsidiary of Facebook or LinkedIn; (c) any entity
                   13
Attorneys at Law




                        in which Facebook or LinkedIn has a controlling interest; (d) any of Facebook’s or
 LOEVY & LOEVY




                   14
                   15   LinkedIn’s officers or directors; or (e) any successor or assign of Facebook or LinkedIn.

                   16   Also excluded are any judge or court personnel assigned to this case and members of
                   17
                        their immediate families.
                   18
                   19         95.    Plaintiff Hurvitz reserves the right to amend or modify the class definitions
                   20   with greater specificity or division after having had an opportunity to conduct
                   21
                        discovery.
                   22
                   23         96.    Numerosity. Consistent with Rule 23(a)(1), the Class and Subclasses
                   24   (collectively, the “Classes”) are so numerous that joinder of all members is
                   25
                        impracticable. While Plaintiff Hurvitz does not know the exact number of members of
                   26
                   27
                                                                    - 30 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 31 of 88




                   1    the Classes, the Nationwide Class contains millions of people. Class Members may be

                   2    identified through objective means, including objective data available to Defendants
                   3
                        regarding whose data they unlawfully collected, disclosed and/or used. Class Members
                   4
                   5    may be notified of the pendency of this action by recognized, Court-approved notice

                   6    dissemination methods, which may include U.S. mail, electronic mail, internet postings,
                   7
                        social media and/or published notice. All members of the various classes are readily
                   8
                   9    ascertainable because Defendants have access to information regarding the identities of

                   10   the persons whose data is at issue.
                   11
                              97.    Commonality and predominance. Common questions of law and fact
                   12
                   13   exist as to all Class Members. These common questions of law or fact predominate over
Attorneys at Law
 LOEVY & LOEVY




                   14   any questions affecting only individual members of the Classes. Common questions
                   15
                        include, but are not limited to the following:
                   16
                   17                a.     Whether Defendants engaged in wrongful conduct as alleged herein;
                   18                b.     Whether Defendants Facebook and LinkedIn intentionally and
                   19
                                            without the necessary consents intercepted the contents of Class
                   20
                   21                       Members’ electronic communications with third-party platforms;
                   22                c.     Whether Defendants Facebook and LinkedIn intentionally and
                   23
                                            without the necessary consents used the contents of Class Members’
                   24
                   25                       electronic communications with third-party platforms knowing or
                   26
                   27
                                                                    - 31 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                        Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 32 of 88




                   1                 having reason to know that the information was obtained through

                   2                 the unlawful interception of the electronic communications;
                   3
                               d.    Whether Defendants Facebook and LinkedIn intentionally and
                   4
                   5                 without the necessary consents disclosed the contents of Class

                   6                 Members’ electronic communications with third-party platforms
                   7
                                     knowing or having reason to know that the information was
                   8
                   9                 obtained through the unlawful interception of the electronic

                   10                communications
                   11
                               e.    Whether Defendants Facebook and LinkedIn intentionally gained
                   12
                   13                unauthorized access to third-parties’ servers where they accessed
Attorneys at Law
 LOEVY & LOEVY




                   14                the electronically-stored communications between the third parties,
                   15
                                     on the one hand, and Plaintiffs and Class Members, on the other;
                   16
                   17          f.    Whether Defendants Facebook and LinkedIn intentionally and
                   18                without the necessary consents used a recording device to eavesdrop
                   19
                                     upon and record the confidential communications between
                   20
                   21                Plaintiff’s and Class Members’ devices, on the one hand, and third
                   22                parties’ servers on the other.
                   23
                               g.    Whether Defendants Facebook and LinkedIn willfully and without
                   24
                   25                the necessary consents, in an unauthorized manner read, attempted
                   26
                   27
                                                             - 32 -
                   28                        FIRST AMENDED CLASS ACTION COMPLAINT
                        Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 33 of 88




                   1                 to read and learned the contents and meaning of communications

                   2                 between Plaintiff’s and Class Members’ devices and third-parties’
                   3
                                     servers;
                   4
                   5           h.    Whether Defendants Facebook and LinkedIn obtained the personal

                   6                 information of Plaintiff and Class Members under false pretenses;
                   7
                               i.    Whether Defendants Facebook and LinkedIn invaded Plaintiff’s and
                   8
                   9                 Class Members’ privacy;

                   10          j.    Whether Defendants Facebook and LinkedIn engaged in unfair or
                   11
                                     deceptive trade practices by failing to disclose the true nature of how
                   12
                   13                they intercepted, used and disclosed Plaintiff’s and Class Members’
Attorneys at Law
 LOEVY & LOEVY




                   14                personal information;
                   15
                               k.    Whether Defendants Facebook and LinkedIn engaged in unfair or
                   16
                   17                deceptive trade practices by failing to disclose the true nature of how
                   18                they gained access to third-parties’ servers to access the
                   19
                                     electronically-stored communications between Defendants, on the
                   20
                   21                one hand, and Plaintiff and Class Members, on the other.
                   22          l.    Whether Plaintiff and Class Members suffered damages as a
                   23
                                     proximate result of the conduct of Defendants Facebook and
                   24
                   25                LinkedIn;
                   26
                   27
                                                                - 33 -
                   28                           FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 34 of 88




                   1                 m.       Whether Defendants Facebook and LinkedIn unjustly enriched

                   2                          themselves through their unlawful conduct; and
                   3
                                     n.       Whether Plaintiff and Class Members are entitled to damages,
                   4
                   5                          equitable relief and other relief.

                   6          98.    Typicality. Plaintiff Hurvitz’s claims are typical of the claims of the
                   7
                        Classes he seeks to represent because Plaintiff and all members of the proposed Classes
                   8
                   9    have suffered similar injuries as a result of the same practices alleged herein. Plaintiff

                   10   has no interests to advance adverse to the interests of the other members of the Classes.
                   11
                              99.    Adequacy. Plaintiff will fairly and adequately protect the interests of
                   12
                   13   Classes and has retained as his counsel attorneys experienced in class actions and
Attorneys at Law
 LOEVY & LOEVY




                   14   complex litigation.
                   15
                              100. Superiority. A class action is superior to other available means for the
                   16
                   17   fair and efficient adjudication of this dispute. The injury suffered by each Class
                   18   Member, while meaningful on an individual basis, is not of such magnitude as to make
                   19
                        the prosecution of individual actions against Defendants economically feasible. Even if
                   20
                   21   Class Members could afford individual litigation, those actions would put
                   22   immeasurable strain on the court system. Moreover, individual litigation of the legal
                   23
                        and factual issues of the case would increase the delay and expense to all parties and
                   24
                   25   the court system. A class action, however, presents far fewer management difficulties
                   26
                   27
                                                                      - 34 -
                   28                                 FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 35 of 88




                   1    and provides the benefit of single adjudication, economy of scale and comprehensive

                   2    supervision by a single court.
                   3
                              101. In the alternative, the proposed classes may be certified because:
                   4
                   5                 a.    The prosecution of separate actions by each individual member of

                   6                       the Classes would create a risk of inconsistent adjudications, which
                   7
                                           could establish incompatible standards of conduct for Defendants;
                   8
                   9                 b.    The prosecution of individual actions could result in adjudications

                   10                      that as a practical matter would be dispositive of the interests of non-
                   11
                                           party Class Members or which would substantially impair their
                   12
                   13                      ability to protect their interests; and
Attorneys at Law
 LOEVY & LOEVY




                   14                c.    Defendants acted or refused to act on grounds generally applicable
                   15
                                           to the proposed classes, thereby making final and injunctive relief
                   16
                   17                      appropriate with respect to members of the Classes.
                   18         102. Pursuant to Rule 23(c)(4) particular issues are appropriate for certification
                   19
                        – namely the issues described in paragraph 97, above, because resolution of such issues
                   20
                   21   would advance the disposition of the matter and the parties’ interests therein.
                   22
                   23
                   24
                   25
                   26
                   27
                                                                    - 35 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 36 of 88




                   1                                   CLAIMS FOR RELIEF

                   2                                      COUNT ONE
                   3                         WIRETAP ACT, 18 U.S.C. § 2511(1)(a)
                                  (On behalf of the National Class Against Defendant Facebook)
                   4
                   5          103. Plaintiff restates and realleges all paragraphs of this First Amended Class

                   6    Action Complaint as though fully set forth herein.
                   7
                              104. The electronic communications between third-party apps, on the one hand,
                   8
                   9    and Plaintiff and Class Members, on the other, constitute electronic communications

                   10   under the Wiretap Act, 18 U.S.C. § 2510(12), as they consist of the transfer of signs,
                   11
                        signals, writing, images, sounds, data or intelligence transmitted in whole or in part by
                   12
                   13   wire, radio, electromagnetic, photoelectronic or photooptical system that affect
Attorneys at Law
 LOEVY & LOEVY




                   14   interstate commerce by, on information and belief, crossing state lines.
                   15
                              105. Defendant Facebook intentionally intercepted, and endeavored to intercept
                   16
                   17   electronic communications, as alleged herein, between third-party apps, on the one
                   18   hand, and Plaintiff and Class Members, on the other. Facebook was not a party to the
                   19
                        electronic communications.
                   20
                   21         106. Defendant Facebook intercepted, and endeavored to intercept, the
                   22   electronic communications at issue contemporaneously with the occurrence of those
                   23
                        communications, but separately from the actual communications between the
                   24
                   25   participants to the communications.
                   26
                   27
                                                                    - 36 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 37 of 88




                   1          107. Defendant Facebook intercepted, and endeavored to intercept, the

                   2    electronic communications at issue without obtaining or receiving the consent or
                   3
                        authorization of any party to the electronic communications.
                   4
                   5          108. Defendant Facebook’s conduct violated the Wiretap Act.

                   6          109. As a direct and proximate result of Defendant Facebook’s violation of the
                   7
                        Wiretap Act, Plaintiff’s and Class Members’ personal information was disclosed to
                   8
                   9    Facebook and used in a manner that otherwise harmed Plaintiff and Class Members,

                   10   causing Plaintiff and Class Members to suffer injuries.
                   11
                              110. Plaintiff and Class Members seek the greater of: (a) the sum of actual
                   12
                   13   damages they suffered and any profits made by Defendant Facebook as a result of its
Attorneys at Law
 LOEVY & LOEVY




                   14   violations of the Wiretap Act; or (b) statutory damages in the amount of $100 a day for
                   15
                        each day of violation or $10,000, whichever is greater.
                   16
                   17         111. Plaintiff and Class Members also seek punitive damages, reasonable
                   18   attorney’s fees and other litigation costs reasonably incurred.
                   19
                              112. Moreover, unless and until enjoined and restrained by order of this Court,
                   20
                   21   Defendant Facebook’s wrongful conduct will continue to cause great and irreparable
                   22   injury to Plaintiff and Class Members in that Facebook and others can continue to use
                   23
                        the unlawfully obtained personal information to Plaintiff’s and Class Members’
                   24
                   25   detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries
                   26
                   27
                                                                    - 37 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 38 of 88




                   1    in that a judgment for monetary damages will not end the invasion of privacy for

                   2    Plaintiff and Class Members.
                   3
                                                         COUNT TWO
                   4                         WIRETAP ACT, 18 U.S.C. § 2511(1)(a)
                   5              (On behalf of the National Class Against Defendant LinkedIn)

                   6          113. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   7
                        Action Complaint as though fully set forth herein.
                   8
                   9          114. The login and other communications between third-party platforms, on the

                   10   one hand, and Plaintiff and Class Members, on the other, constitute electronic
                   11
                        communications under the Wiretap Act, 18 U.S.C. § 2510(12), as they consist of the
                   12
                   13   transfer of signs, signals, writing, images, sounds, data or intelligence transmitted in
Attorneys at Law
 LOEVY & LOEVY




                   14   whole or in part by wire, radio, electromagnetic, photoelectronic or photooptical system
                   15
                        that affect interstate commerce by, on information and belief, crossing state lines.
                   16
                   17         115. Defendant LinkedIn intentionally intercepted, and endeavored to intercept
                   18   electronic communications, as alleged herein, between third-party platforms, on the one
                   19
                        hand, and Plaintiff and Class Members, on the other. LinkedIn was not a party to the
                   20
                   21   electronic communications.
                   22         116. Defendant LinkedIn intercepted, and endeavored to intercept, the
                   23
                        electronic communications at issue contemporaneously with the occurrence of those
                   24
                   25
                   26
                   27
                                                                    - 38 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 39 of 88




                   1    communications, but separately from the actual communications between the

                   2    participants to the communications.
                   3
                              117. Defendant LinkedIn intercepted, and endeavored to intercept, the
                   4
                   5    electronic communications at issue without obtaining or receiving the consent or

                   6    authorization of any party to the electronic communications.
                   7
                              118. Defendant LinkedIn’s conduct violated the Wiretap Act.
                   8
                   9          119. As a direct and proximate result of Defendant LinkedIn’s violation of the

                   10   Wiretap Act, Plaintiff’s and Class Members’ personal information was disclosed to
                   11
                        LinkedIn and used in a manner that otherwise harmed Plaintiff and Class Members,
                   12
                   13   causing Plaintiff and Class Members to suffer injuries.
Attorneys at Law
 LOEVY & LOEVY




                   14         120. Plaintiff and Class Members seek the greater of: (a) the sum of actual
                   15
                        damages they suffered and any profits made by Defendant LinkedIn as a result of its
                   16
                   17   violations of the Wiretap Act; or (b) statutory damages in the amount of $100 a day for
                   18   each day of violation or $10,000, whichever is greater.
                   19
                              121. Plaintiff and Class Members also seek punitive damages, reasonable
                   20
                   21   attorney’s fees and other litigation costs reasonably incurred.
                   22         122. Moreover, unless and until enjoined and restrained by order of this Court,
                   23
                        Defendant LinkedIn’s wrongful conduct will continue to cause great and irreparable
                   24
                   25   injury to Plaintiff and Class Members in that LinkedIn and others can continue to use
                   26
                   27
                                                                    - 39 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 40 of 88




                   1    the unlawfully obtained personal information to Plaintiff’s and Class Members’

                   2    detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries
                   3
                        in that a judgment for monetary damages will not end the invasion of privacy for
                   4
                   5    Plaintiff and Class Members or require LinkedIn to retrieve the personal information

                   6    from the entities to which it was disclosed.
                   7
                                                        COUNT THREE
                   8                         WIRETAP ACT, 18 U.S.C. § 2511(1)(c)
                   9              (On behalf of the National Class Against Defendant LinkedIn)

                   10         123. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   11
                        Action Complaint as though fully set forth herein.
                   12
                   13         124. The alleged electronic communications between third-party platforms, on
Attorneys at Law
 LOEVY & LOEVY




                   14   the one hand, and Plaintiff and Class Members, on the other, constitute electronic
                   15
                        communications under the Wiretap Act, 18 U.S.C. § 2510(12), as they consist of the
                   16
                   17   transfer of signs, signals, writing, images, sounds, data or intelligence transmitted in
                   18   whole or in part by wire, radio, electromagnetic, photoelectronic or photooptical system
                   19
                        that affect interstate commerce.
                   20
                   21         125. As alleged herein, the login communications between third-party
                   22   platforms, on the one hand, and Plaintiff and Class Members on the other, constitute
                   23
                        the contents of an electronic communication because the information communicated
                   24
                   25   concerned the substance, purport and meaning of the communication.
                   26
                   27
                                                                    - 40 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 41 of 88




                   1          126. Defendant LinkedIn intentionally disclosed, and endeavored to disclose,

                   2    to users of third-party platforms the contents of the electronic communications between
                   3
                        third-party platforms, on the one hand, and Plaintiff and Class Members, on the other,
                   4
                   5    as alleged herein. LinkedIn was not a party to the electronic communications.

                   6          127. Defendant LinkedIn knew, and had reason to know, that the information
                   7
                        at issue was obtained through the interception of electronic communications between
                   8
                   9    third-party platforms, on the one hand, and Plaintiff and Class Members, on the other,

                   10   because LinkedIn was directly involved in the interception.
                   11
                              128. Defendant LinkedIn intercepted, and endeavored to intercept, the
                   12
                   13   electronic communications at issue contemporaneously with the occurrence of those
Attorneys at Law
 LOEVY & LOEVY




                   14   communications, but separately from the actual communications between the
                   15
                        participants to the communications.
                   16
                   17         129. Defendant LinkedIn intercepted and endeavored to intercept the contents
                   18   of the electronic communications at issue without obtaining or receiving the consent or
                   19
                        authorization of any party to the electronic communications.
                   20
                   21         130. Defendant LinkedIn’s conduct violated the Wiretap Act.
                   22         131. As a direct and proximate result of Defendant LinkedIn’s violation of the
                   23
                        Wiretap Act, Plaintiff’s and Class Members’ personal information was disclosed by
                   24
                   25
                   26
                   27
                                                                   - 41 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 42 of 88




                   1    LinkedIn to others and used in a manner that otherwise harmed Plaintiff and Class

                   2    Members, causing Plaintiff and Class Members to suffer injuries.
                   3
                              132. Plaintiff and Class Members seek the greater of: (a) the sum of actual
                   4
                   5    damages they suffered and any profits made by Defendant LinkedIn as a result of its

                   6    violations of the Wiretap Act; or (b) statutory damages in the amount of $100 a day for
                   7
                        each day of violation or $10,000, whichever is greater.
                   8
                   9          133. Plaintiff and Class Members also seek punitive damages, reasonable

                   10   attorney’s fees and other litigation costs reasonably incurred.
                   11
                              134. Moreover, unless and until enjoined and restrained by order of this Court,
                   12
                   13   Defendant LinkedIn’s wrongful conduct will continue to cause great and irreparable
Attorneys at Law
 LOEVY & LOEVY




                   14   injury to Plaintiff and Class Members in that LinkedIn and others can continue to use
                   15
                        the unlawfully obtained personal information to Plaintiff’s and Class Members’
                   16
                   17   detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries
                   18   in that a judgment for monetary damages will not end the invasion of privacy for
                   19
                        Plaintiff and Class Members or require LinkedIn to retrieve the personal information
                   20
                   21   from the unauthorized entities to which it was disclosed.
                   22
                   23
                   24
                   25
                   26
                   27
                                                                    - 42 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 43 of 88




                   1                                     COUNT FOUR
                                             WIRETAP ACT, 18 U.S.C. § 2511(1)(d)
                   2              (On behalf of the National Class Against Defendant Facebook)
                   3
                              135. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   4
                   5    Action Complaint as though fully set forth herein.

                   6          136. The login and other communications between third-party apps, on the one
                   7
                        hand, and Plaintiff and Class Members, on the other, constitute electronic
                   8
                   9    communications under the Wiretap Act, 18 U.S.C. § 2510(12), as they consist of the

                   10   transfer of signs, signals, writing, images, sounds, data or intelligence transmitted in
                   11
                        whole or in part by wire, radio, electromagnetic, photoelectronic or photooptical system
                   12
                   13   that affect interstate commerce.
Attorneys at Law
 LOEVY & LOEVY




                   14         137. As alleged herein, the electronic communications between third-party
                   15
                        apps, on the one hand, and Plaintiff and Class Members on the other, constitute the
                   16
                   17   contents of an electronic communication because the information communicated
                   18   concerned the substance, purport and meaning of the communication.
                   19
                              138. Defendant Facebook intentionally used, and endeavored to use, the
                   20
                   21   contents of the electronic communications between third-party apps, on the one hand,
                   22   and Plaintiff and Class Members, on the other. Specifically, Facebook used the contents
                   23
                        of the communications to generate increased revenues through the sale of advertising.
                   24
                   25         139. Defendant Facebook was not a party to the electronic communications.
                   26
                   27
                                                                   - 43 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 44 of 88




                   1          140. Defendant Facebook knew, and had reason to know, that the information

                   2    at issue was obtained through the interception of electronic communications between
                   3
                        third-party apps, on the one hand, and Plaintiff and Class Members, on the other,
                   4
                   5    because Facebook was directly involved in the interception.

                   6          141. Defendant Facebook intercepted, and endeavored to intercept, the
                   7
                        electronic communications at issue contemporaneously with the occurrence of those
                   8
                   9    communications, but separately from the actual communications between the

                   10   participants to the communications.
                   11
                              142. Defendant Facebook intercepted and endeavored to intercept the contents
                   12
                   13   of the electronic communications at issue without obtaining or receiving the consent or
Attorneys at Law
 LOEVY & LOEVY




                   14   authorization of any party to the electronic communications.
                   15
                              143. Defendant Facebook’s conduct violated the Wiretap Act.
                   16
                   17         144. As a direct and proximate result of Defendant Facebook’s violation of the
                   18   Wiretap Act, Plaintiff’s and Class Members’ personal information was disclosed by
                   19
                        Facebook to others and used in a manner that otherwise harmed Plaintiff and Class
                   20
                   21   Members, causing Plaintiff and Class Members to suffer injuries.
                   22         145. Plaintiff and Class Members seek the greater of: (a) the sum of actual
                   23
                        damages they suffered and any profits made by Defendant Facebook as a result of its
                   24
                   25
                   26
                   27
                                                                   - 44 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 45 of 88




                   1    violations of the Wiretap Act; or (b) statutory damages in the amount of $100 a day for

                   2    each day of violation or $10,000, whichever is greater.
                   3
                              146. Plaintiff and Class Members also seek punitive damages, reasonable
                   4
                   5    attorney’s fees and other litigation costs reasonably incurred.

                   6          147. Moreover, unless and until enjoined and restrained by order of this Court,
                   7
                        Defendant Facebook’s wrongful conduct will continue to cause great and irreparable
                   8
                   9    injury to Plaintiff and Class Members in that Facebook and others can continue to use

                   10   the unlawfully obtained personal information to Plaintiff’s and Class Members’
                   11
                        detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries
                   12
                   13   in that a judgment for monetary damages will not end the invasion of privacy for
Attorneys at Law
 LOEVY & LOEVY




                   14   Plaintiff and Class Members.
                   15
                                                          COUNT FIVE
                   16                        WIRETAP ACT, 18 U.S.C. § 2511(1)(d)
                   17             (On behalf of the National Class Against Defendant LinkedIn)

                   18         148. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   19
                        Action Complaint as though fully set forth herein.
                   20
                   21         149. The electronic communications between third-party platforms, on the one
                   22   hand, and Plaintiff and Class Members, on the other, constitute electronic
                   23
                        communications under the Wiretap Act, 18 U.S.C. § 2510(12), as they consist of the
                   24
                   25   transfer of signs, signals, writing, images, sounds, data or intelligence transmitted in
                   26
                   27
                                                                    - 45 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 46 of 88




                   1    whole or in part by wire, radio, electromagnetic, photoelectronic or photooptical system

                   2    that affect interstate commerce.
                   3
                              150. As alleged herein, the electronic communications between third-party
                   4
                   5    platforms, on the one hand, and Plaintiff and Class Members on the other, constitute

                   6    the contents of an electronic communication because the information communicated
                   7
                        concerned the substance, purport and meaning of the communication.
                   8
                   9          151. Defendant LinkedIn intentionally used, and endeavored to use, the

                   10   contents of electronic communications between third-party platforms, on the one hand,
                   11
                        and Plaintiff and Class Members, on the other. Specifically, LinkedIn used, and
                   12
                   13   endeavored to use, the contents of the communications to increase sales of its services
Attorneys at Law
 LOEVY & LOEVY




                   14   and products.
                   15
                              152. Defendant LinkedIn was not a party to the electronic communications.
                   16
                   17         153. Defendant LinkedIn knew, and had reason to know, that the information
                   18   at issue was obtained through the interception of electronic communications between
                   19
                        third-party platforms, on the one hand, and Plaintiff and Class Members, on the other,
                   20
                   21   because LinkedIn was directly involved in the interception.
                   22         154. Defendant LinkedIn intercepted, and endeavored to intercept, the
                   23
                        electronic communications at issue contemporaneously with the occurrence of those
                   24
                   25
                   26
                   27
                                                                   - 46 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 47 of 88




                   1    communications, but separately from the actual communications between the

                   2    participants to the communications.
                   3
                              155. Defendant LinkedIn intercepted and endeavored to intercept the contents
                   4
                   5    of the electronic communications at issue without obtaining or receiving the consent or

                   6    authorization of any party to the electronic communications.
                   7
                              156. Defendant LinkedIn’s conduct violated the Wiretap Act.
                   8
                   9          157. As a direct and proximate result of Defendant LinkedIn’s violation of the

                   10   Wiretap Act, Plaintiff’s and Class Members’ personal information was disclosed by
                   11
                        LinkedIn to others, causing Plaintiff and Class Members to suffer injuries.
                   12
                   13         158. Plaintiff and Class Members seek the greater of: (a) the sum of actual
Attorneys at Law
 LOEVY & LOEVY




                   14   damages they suffered and any profits made by Defendant LinkedIn as a result of its
                   15
                        violations of the Wiretap Act; or (b) statutory damages in the amount of $100 a day for
                   16
                   17   each day of violation or $10,000, whichever is greater.
                   18         159. Plaintiff and Class Members also seek punitive damages, reasonable
                   19
                        attorney’s fees and other litigation costs reasonably incurred.
                   20
                   21         160. Moreover, unless and until enjoined and restrained by order of this Court,
                   22   Defendant LinkedIn’s wrongful conduct will continue to cause great and irreparable
                   23
                        injury to Plaintiff and Class Members in that LinkedIn and others can continue to use
                   24
                   25   the unlawfully obtained personal information to Plaintiff’s and Class Members’
                   26
                   27
                                                                    - 47 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 48 of 88




                   1    detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries

                   2    in that a judgment for monetary damages will not end the invasion of privacy for
                   3
                        Plaintiff and Class Members or require LinkedIn to retrieve the personal information
                   4
                   5    from the unauthorized entities to which it was disclosed.

                   6                                      COUNT SIX
                   7              STORED COMMUNICATIONS ACT, 18 U.S.C. § 2701(a)(1)
                                  (On behalf of the National Class Against Defendant Facebook)
                   8
                   9          161. Plaintiff restates and realleges all paragraphs of this First Amended Class

                   10   Action Complaint as though fully set forth herein.
                   11
                              162. This count is alleged in the alternative to Counts One and Four.
                   12
                   13         163. The login and other communications between third-party apps, on the one
Attorneys at Law
 LOEVY & LOEVY




                   14   hand, and Plaintiff and Class Members, on the other, constitute electronic
                   15
                        communications under the Wiretap Act, 18 U.S.C. § 2510(12), as they consist of the
                   16
                   17   transfer of signs, signals, writing, images, sounds, data or intelligence transmitted in
                   18   whole or in part by wire, radio, electromagnetic, photoelectronic or photooptical system
                   19
                        that affect interstate commerce.
                   20
                   21         164. The servers of the third-party app operators were electronic
                   22   communication services because they provided users the ability to receive electronic
                   23
                        communications, as alleged herein, among other communications.
                   24
                   25
                   26
                   27
                                                                   - 48 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 49 of 88




                   1          165. After Plaintiff and Class Members provided the third-party apps with their

                   2    electronic information, the third-party apps’ operators electronically stored that
                   3
                        electronic communication on their servers as temporary or intermediate storage or to
                   4
                   5    provide backup protection of those communications.

                   6          166. Defendant Facebook willfully and intentionally accessed without
                   7
                        authorization facilities through which electronic communication services were provided
                   8
                   9    – namely, the servers of the third-party apps’ operators – and thereby obtained access

                   10   to the electronic communications at issue while they were in electronic storage in the
                   11
                        servers.
                   12
                   13         167. Defendant Facebook’s conduct violated the Stored Communications Act.
Attorneys at Law
 LOEVY & LOEVY




                   14         168. As a direct and proximate result of Defendant Facebook’s violation of the
                   15
                        Stored Communications Act, Plaintiff’s and Class Members’ personal information was
                   16
                   17   obtained by Facebook, causing Plaintiff and Class Members to suffer injuries.
                   18         169. Plaintiff and Class Members seek the sum of actual damages they suffered
                   19
                        and any profits made by Defendant Facebook as a result of its violations of the Stored
                   20
                   21   Communications Act, which in no case may be less than $1,000.
                   22         170. Plaintiff and Class Members also seek punitive damages, reasonable
                   23
                        attorney’s fees and other litigation costs reasonably incurred.
                   24
                   25
                   26
                   27
                                                                    - 49 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 50 of 88




                   1          171. Moreover, unless and until enjoined and restrained by order of this Court,

                   2    Defendant Facebook’s wrongful conduct will continue to cause great and irreparable
                   3
                        injury to Plaintiff and Class Members in that Facebook and others can continue to use
                   4
                   5    the unlawfully obtained personal information to Plaintiff’s and Class Members’

                   6    detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries
                   7
                        in that a judgment for monetary damages will not end the invasion of privacy for
                   8
                   9    Plaintiff and Class Members.

                   10                                    COUNT SEVEN
                   11             STORED COMMUNICATIONS ACT, 18 U.S.C. § 2701(a)(1)
                                  (On behalf of the National Class Against Defendant LinkedIn)
                   12
                   13         172. Plaintiff restates and realleges all paragraphs of this First Amended Class
Attorneys at Law
 LOEVY & LOEVY




                   14   Action Complaint as though fully set forth herein.
                   15
                              173. This count is alleged in the alternative to Counts Two, Three and Five.
                   16
                   17         174. The login and other communications between third-party platforms, on the
                   18   one hand, and Plaintiff and Class Members, on the other, constitute electronic
                   19
                        communications under the Wiretap Act, 18 U.S.C. § 2510(12), as they consist of the
                   20
                   21   transfer of signs, signals, writing, images, sounds, data or intelligence transmitted in
                   22   whole or in part by wire, radio, electromagnetic, photoelectronic or photooptical system
                   23
                        that affect interstate commerce.
                   24
                   25
                   26
                   27
                                                                   - 50 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 51 of 88




                   1          175. The servers of third-party platforms operators were electronic

                   2    communication services because they provided users the ability to receive electronic
                   3
                        communications, as alleged herein, among other communications.
                   4
                   5          176. After Plaintiff and Class Members provided the third-party platforms with

                   6    their electronic login information, the third-party platforms’ operators electronically
                   7
                        stored that electronic communication on their servers as temporary or intermediate
                   8
                   9    storage or to provide backup protection of those communications.

                   10         177. Defendant LinkedIn willfully and intentionally accessed without
                   11
                        authorization facilities through which electronic communication services were provided
                   12
                   13   – namely, the servers of the third-party platforms’ operators – and thereby obtained
Attorneys at Law
 LOEVY & LOEVY




                   14   access to the electronic communications at issue while they were in electronic storage
                   15
                        in the servers.
                   16
                   17         178. Defendant LinkedIn’s conduct violated the Stored Communications Act.
                   18         179. As a direct and proximate result of Defendant LinkedIn’s violation of the
                   19
                        Stored Communications Act, Plaintiff’s and Class Members’ personal information was
                   20
                   21   obtained by LinkedIn, causing Plaintiff and Class Members to suffer injuries.
                   22         180. Plaintiff and Class Members seek the sum of actual damages they suffered
                   23
                        and any profits made by Defendant LinkedIn as a result of its violations of the Stored
                   24
                   25   Communications Act, which in no case may be less than $1,000.
                   26
                   27
                                                                   - 51 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 52 of 88




                   1          181. Plaintiff and Class Members also seek punitive damages, reasonable

                   2    attorney’s fees and other litigation costs reasonably incurred.
                   3
                              182. Moreover, unless and until enjoined and restrained by order of this Court,
                   4
                   5    Defendant LinkedIn’s wrongful conduct will continue to cause great and irreparable

                   6    injury to Plaintiff and Class Members in that LinkedIn and others can continue to use
                   7
                        the unlawfully obtained personal information to Plaintiff’s and Class Members’
                   8
                   9    detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries

                   10   in that a judgment for monetary damages will not end the invasion of privacy for
                   11
                        Plaintiff and Class Members or require LinkedIn to retrieve the personal information
                   12
                   13   from the unauthorized entities to which it was disclosed.
Attorneys at Law
 LOEVY & LOEVY




                   14                                  COUNT EIGHT
                   15       CALIFORNIA INVASION OF PRIVACY ACT, CAL. PEN. CODE § 631
                              (On behalf of the California Subclass against Defendant Facebook)
                   16
                   17         183. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   18   Action Complaint as though fully set forth herein.
                   19
                              184. Defendant Facebook willfully and without the consent of all parties to
                   20
                   21   communications between Plaintiff and Class Members, on the one hand, and the third-
                   22   party apps, on the other – namely, the electronic communications, as alleged herein,
                   23
                        among others – in an unauthorized manner read, attempted to read and learned the
                   24
                   25   contents and meaning of the messages, reports and communications between those
                   26
                   27
                                                                    - 52 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 53 of 88




                   1    parties while the same were in transit and passing over any wire, line or cable and were

                   2    being sent from and received within the State of California.
                   3
                              185. Defendant Facebook collected the personal information by willfully and
                   4
                   5    intentionally using a recording device to record and eavesdrop on, and by otherwise

                   6    reading, attempting to read and learning the contents and meaning of, communications
                   7
                        between the Plaintiff’s and Class Members’ computers and devices and the servers of
                   8
                   9    third-party apps’ operators while the same were in transit and passing over any wire,

                   10   line or cable and were being sent from and received within the State of California.
                   11
                        Facebook engaged in this conduct in an unauthorized manner and without Plaintiff’s
                   12
                   13   and Class Members’ knowledge or consent. As alleged herein, Plaintiff and Class
Attorneys at Law
 LOEVY & LOEVY




                   14   Members had a reasonable expectation of privacy in the communications and
                   15
                        reasonably believed the communications were confidential.
                   16
                   17         186. Plaintiff and Class Members did not authorize or consent to the conduct in
                   18   the paragraph above.
                   19
                              187. Defendant Facebook was not a party to the above-described
                   20
                   21   communications.
                   22         188. Defendant Facebook’s conduct was designed to read, attempt to read and
                   23
                        learn at least some of the meaning of the content of the communications between
                   24
                   25
                   26
                   27
                                                                   - 53 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 54 of 88




                   1    Plaintiff’s and Class Members’ computers and devices and the servers of third-party

                   2    apps’ operators.
                   3
                               189. Defendant Facebook’s conduct violated the California Invasion of Privacy
                   4
                   5    Act, Cal. Pen. Code, § 631.

                   6           190. As a direct and proximate result of Defendant Facebook’s violation of the
                   7
                        California Invasion of Privacy Act, Plaintiff’s and Class Members’ personal
                   8
                   9    information was disclosed to Facebook, causing Plaintiff and Class Members to suffer

                   10   injuries.
                   11
                               191. Plaintiff and Class Members seek the greater of $5,000 per violation or
                   12
                   13   three times the amount of actual damages.
Attorneys at Law
 LOEVY & LOEVY




                   14          192. Moreover, unless and until enjoined and restrained by order of this Court,
                   15
                        Defendant Facebook’s wrongful conduct will continue to cause great and irreparable
                   16
                   17   injury to Plaintiff and Class Members in that Facebook and others can continue to use
                   18   the unlawfully obtained personal information to Plaintiff’s and Class Members’
                   19
                        detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries
                   20
                   21   in that a judgment for monetary damages will not end the invasion of privacy for
                   22   Plaintiff and Class Members.
                   23
                   24
                   25
                   26
                   27
                                                                      - 54 -
                   28                                 FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 55 of 88




                   1                                   COUNT NINE
                           CALIFORNIA INVASION OF PRIVACY ACT, CAL. PEN. CODE § 631
                   2         (On behalf of the California Subclass against Defendant LinkedIn)
                   3
                              193. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   4
                   5    Action Complaint as though fully set forth herein.

                   6          194. Defendant LinkedIn willfully and without the consent of all parties to
                   7
                        communications between Plaintiff and Class Members, on the one hand, and the third-
                   8
                   9    party platforms, on the other – namely, the electronic communications, as alleged

                   10   herein, among others – in an unauthorized manner read, attempted to read and learned
                   11
                        the contents and meaning of the messages, reports and communications between those
                   12
                   13   parties while the same were in transit and passing over any wire, line or cable and were
Attorneys at Law
 LOEVY & LOEVY




                   14   being sent from and received within the State of California.
                   15
                              195. Defendant LinkedIn collected the personal information by willfully and
                   16
                   17   intentionally using a recording device to record and eavesdrop on, and by otherwise
                   18   reading, attempting to read and learning the contents and meaning of, communications
                   19
                        between the Plaintiff’s and Class Members’ computers and devices and the servers of
                   20
                   21   third-party platforms’ operators while the same were in transit and passing over any
                   22   wire, line or cable and were being sent from and received within the State of California.
                   23
                        LinkedIn engaged in this conduct in an unauthorized manner and without Plaintiff’s
                   24
                   25   and Class Members’ knowledge or consent. As alleged herein, Plaintiff and Class
                   26
                   27
                                                                    - 55 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 56 of 88




                   1    Members had a reasonable expectation of privacy in the communications and

                   2    reasonably believed the communications were confidential.
                   3
                               196. Plaintiff and Class Members did not authorize or consent to the conduct in
                   4
                   5    the paragraph above.

                   6           197. Defendant LinkedIn was not a party to the above-described
                   7
                        communications.
                   8
                   9           198. Defendant LinkedIn’s conduct was designed to read, attempt to read and

                   10   learn at least some of the meaning of the content of the communications between
                   11
                        Plaintiff’s and Class Members’ computers and devices and the servers of third-party
                   12
                   13   platforms’ operators.
Attorneys at Law
 LOEVY & LOEVY




                   14          199. Defendant LinkedIn’s conduct violated the California Invasion of Privacy
                   15
                        Act, Cal. Pen. Code, § 631.
                   16
                   17          200. As a direct and proximate result of Defendant LinkedIn’s violation of the
                   18   California Invasion of Privacy Act, Plaintiff’s and Class Members’ personal
                   19
                        information was disclosed to LinkedIn, causing Plaintiff and Class Members to suffer
                   20
                   21   injuries.
                   22          201. Plaintiff and Class Members seek the greater of $5,000 per violation or
                   23
                        three times the amount of actual damages.
                   24
                   25
                   26
                   27
                                                                      - 56 -
                   28                                 FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 57 of 88




                   1          202. Moreover, unless and until enjoined and restrained by order of this Court,

                   2    Defendant LinkedIn’s wrongful conduct will continue to cause great and irreparable
                   3
                        injury to Plaintiff and Class Members in that LinkedIn and others can continue to use
                   4
                   5    the unlawfully obtained personal information to Plaintiff’s and Class Members’

                   6    detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries
                   7
                        in that a judgment for monetary damages will not end the invasion of privacy for
                   8
                   9    Plaintiff and Class Members or require LinkedIn to retrieve the personal information

                   10   from the unauthorized entities to which it was disclosed.
                   11
                                                        COUNT TEN
                   12      CALIFORNIA INVASION OF PRIVACY ACT, CAL. PEN. CODE § 632
                   13        (On behalf of the California Subclass against Defendant Facebook)
Attorneys at Law
 LOEVY & LOEVY




                   14         203. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   15
                        Action Complaint as though fully set forth herein.
                   16
                   17         204. Defendant Facebook intentionally and without the consent of all parties to
                   18   confidential communications between Plaintiff and Class Members, on the one hand,
                   19
                        and third-party platforms, on the other – namely, the electronic communications, as
                   20
                   21   alleged herein, among others – used a recording device to eavesdrop upon and record
                   22   the confidential communications.
                   23
                              205. Plaintiff and Class Members did not authorize or consent to the conduct in
                   24
                   25   the paragraph above.
                   26
                   27
                                                                   - 57 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 58 of 88




                   1          206. As alleged herein, Plaintiff and Class Members had a reasonable

                   2    expectation of privacy in the above-described communications and reasonably expected
                   3
                        them to be confidential.
                   4
                   5          207. Defendant Facebook was not a party to the above-described

                   6    communications.
                   7
                              208. Defendant Facebook’s conduct was designed to read, attempt to read and
                   8
                   9    learn at least some of the meaning of the content of the communications between

                   10   Plaintiff’s and Class Members’ computers and devices and the servers of third-party
                   11
                        apps’ operators.
                   12
                   13         209. The following items, among others, constitute recording devices within the
Attorneys at Law
 LOEVY & LOEVY




                   14   meaning of the California Invasion of Privacy Act:
                   15
                                     a.    The Third-Party Platforms;
                   16
                   17                b.    The Login with Facebook Feature;
                   18                c.    Plaintiff’s and Class Members’ web browsers;
                   19
                                     d.    Plaintiff’s and Class Members’ mobile operating systems;
                   20
                   21                e.    The Third-Party Platforms’ Servers; and
                   22                f.    The servers and websites from which Defendant Facebook tracked,
                   23
                                           intercepted and recorded Plaintiff’s and Class Members’
                   24
                   25                      communications with third-party platforms.
                   26
                   27
                                                                   - 58 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 59 of 88




                   1           210. Defendant Facebook’s conduct violated the California Invasion of Privacy

                   2    Act, Cal. Pen. Code, § 632.
                   3
                               211. As a direct and proximate result of Defendant Facebook’s violation of the
                   4
                   5    California Invasion of Privacy Act, Plaintiff’s and Class Members’ personal

                   6    information was disclosed to Facebook, causing Plaintiff and Class Members to suffer
                   7
                        injuries.
                   8
                   9           212. Plaintiff and Class Members seek the greater of $5,000 per violation or

                   10   three times the amount of actual damages.
                   11
                               213. Moreover, unless and until enjoined and restrained by order of this Court,
                   12
                   13   Defendant Facebook’s wrongful conduct will continue to cause great and irreparable
Attorneys at Law
 LOEVY & LOEVY




                   14   injury to Plaintiff and Class Members in that Facebook and others can continue to use
                   15
                        the unlawfully obtained personal information to Plaintiff’s and Class Members’
                   16
                   17   detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries
                   18   in that a judgment for monetary damages will not end the invasion of privacy for
                   19
                        Plaintiff and Class Members.
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27
                                                                      - 59 -
                   28                                 FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 60 of 88




                   1                                 COUNT ELEVEN
                           CALIFORNIA INVASION OF PRIVACY ACT, CAL. PEN. CODE § 632
                   2         (On behalf of the California Subclass against Defendant LinkedIn)
                   3
                              214. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   4
                   5    Action Complaint as though fully set forth herein.

                   6          215. Defendant LinkedIn intentionally and without the consent of all parties to
                   7
                        confidential communications between Plaintiff and Class Members, on the one hand,
                   8
                   9    and third-party platforms, on the other – namely, the electronic communications, as

                   10   alleged herein, among others – used a recording device to eavesdrop upon and record
                   11
                        the confidential communications.
                   12
                   13         216. Plaintiff and Class Members did not authorize or consent to the conduct in
Attorneys at Law
 LOEVY & LOEVY




                   14   the paragraph above.
                   15
                              217. As alleged herein, Plaintiff and Class Members had a reasonable
                   16
                   17   expectation of privacy in the above-described communications and reasonably expected
                   18   them to be confidential.
                   19
                              218. Defendant LinkedIn was not a party to the above-described
                   20
                   21   communications.
                   22         219. Defendant LinkedIn’s conduct was designed to read, attempt to read and
                   23
                        learn at least some of the meaning of the content of the communications between
                   24
                   25
                   26
                   27
                                                                   - 60 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 61 of 88




                   1    Plaintiff’s and Class Members’ computers and devices and the servers of third-party

                   2    platforms’ operators.
                   3
                               220. The following items, among others, constitute recording devices within the
                   4
                   5    meaning of the California Invasion of Privacy Act:

                   6                 a.    The Third-Party Platforms;
                   7
                                     b.    The Navigator API;
                   8
                   9                 c.    Plaintiff’s and Class Members’ web browsers;

                   10                d.    Plaintiff’s and Class Members’ mobile operating systems;
                   11
                                     e.    The Third-Party Platforms’ Servers; and
                   12
                   13                f.    The servers and websites from which Defendant Facebook tracked,
Attorneys at Law
 LOEVY & LOEVY




                   14                      intercepted and recorded Plaintiff’s and Class Members’
                   15
                                           communications with third-party platforms.
                   16
                   17          221. Defendant LinkedIn’s conduct violated the California Invasion of Privacy
                   18   Act, Cal. Pen. Code, § 632.
                   19
                               222. As a direct and proximate result of Defendant LinkedIn’s violation of the
                   20
                   21   California Invasion of Privacy Act, Plaintiff’s and Class Members’ personal
                   22   information was disclosed to LinkedIn, causing Plaintiff and Class Members to suffer
                   23
                        injuries.
                   24
                   25
                   26
                   27
                                                                      - 61 -
                   28                                 FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 62 of 88




                   1          223. Plaintiff and Class Members seek the greater of $5,000 per violation or

                   2    three times the amount of actual damages.
                   3
                              224. Moreover, unless and until enjoined and restrained by order of this Court,
                   4
                   5    Defendant LinkedIn’s wrongful conduct will continue to cause great and irreparable

                   6    injury to Plaintiff and Class Members in that LinkedIn and others can continue to use
                   7
                        the unlawfully obtained personal information to Plaintiff’s and Class Members’
                   8
                   9    detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries

                   10   in that a judgment for monetary damages will not end the invasion of privacy for
                   11
                        Plaintiff and Class Members or require LinkedIn to retrieve the personal information
                   12
                   13   from the unauthorized entities to which it was disclosed.
Attorneys at Law
 LOEVY & LOEVY




                   14                                   COUNT TWELVE
                   15                           INTRUSION UPON SECLUSION
                                        (On behalf of the Intrusion Upon Seclusion Subclass
                   16                              against Defendant Facebook)
                   17
                              225. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   18
                   19   Action Complaint as though fully set forth herein.
                   20         226. Plaintiff and Class Members had a reasonable expectation of privacy to
                   21
                        their personal information and were entitled to protection of this information against
                   22
                   23   disclosure to unauthorized third parties.
                   24         227. Defendant Facebook intentionally and maliciously intruded upon
                   25
                        Plaintiff’s and Class Members’ privacy rights by surreptitiously learning the contents
                   26
                   27
                                                                    - 62 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 63 of 88




                   1    and meaning of Plaintiff’s and Class Members’ communications with third-party apps,

                   2    which contents contained personal information and allowed Facebook to identify
                   3
                        Plaintiff and Class Members even if they did not want to be identified. Facebook’s
                   4
                   5    intrusion occurred in a manner highly offensive to a reasonable person.

                   6          228. Defendant Facebook’s intrusion upon Plaintiff’s and Class Members’
                   7
                        privacy rights was so serious as to constitute an egregious breach of social norms such
                   8
                   9    that the breach was highly offensive.

                   10         229. As a direct and proximate result of Defendant Facebook’s unlawful
                   11
                        intrusion upon Plaintiff’s and Class Members’ seclusion, Plaintiff’s and Class
                   12
                   13   Members’ personal information has been disclosed to Facebook, and their reasonable
Attorneys at Law
 LOEVY & LOEVY




                   14   expectations of privacy have been intruded upon and frustrated.
                   15
                              230. Plaintiff and Class Members have suffered injuries as a result of Defendant
                   16
                   17   Facebook’s conduct, and they are entitled to appropriate relief, including compensatory
                   18   and punitive damages.
                   19
                              231. Moreover, unless and until enjoined and restrained by order of this Court,
                   20
                   21   Defendant Facebook’s wrongful conduct will continue to cause great and irreparable
                   22   injury to Plaintiff and Class Members in that Facebook and others can continue to use
                   23
                        the unlawfully obtained personal information to Plaintiff’s and Class Members’
                   24
                   25   detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries
                   26
                   27
                                                                   - 63 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 64 of 88




                   1    in that a judgment for monetary damages will not end the invasion of privacy for

                   2    Plaintiff and Class Members.
                   3
                                                        COUNT THIRTEEN
                   4                            INTRUSION UPON SECLUSION
                   5                    (On behalf of the Intrusion Upon Seclusion Subclass
                                                   against Defendant LinkedIn)
                   6
                   7          232. Plaintiff restates and realleges all paragraphs of this First Amended Class

                   8    Action Complaint as though fully set forth herein.
                   9
                              233. Plaintiff and Class Members had a reasonable expectation of privacy to
                   10
                   11   their personal information and were entitled to protection of this information against

                   12   disclosure to unauthorized third parties.
                   13
Attorneys at Law




                              234. Defendant LinkedIn intentionally and maliciously intruded upon
 LOEVY & LOEVY




                   14
                   15   Plaintiff’s and Class Members’ privacy rights by surreptitiously learning the contents

                   16   and meaning of Plaintiff’s and Class Members’ communications with third-party
                   17
                        platforms, which contents contained personal information and allowed LinkedIn to
                   18
                   19   identify Plaintiff and Class Members even if they did not want to be identified.
                   20   LinkedIn’s intrusion occurred in a manner highly offensive to a reasonable person, as a
                   21
                        reasonable person would not expect a third party to surreptitiously learn the contents of
                   22
                   23   the person’s communications.
                   24
                   25
                   26
                   27
                                                                    - 64 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 65 of 88




                   1          235. Defendant LinkedIn’s intrusion upon Plaintiff’s and Class Members’

                   2    privacy rights was so serious as to constitute an egregious breach of social norms such
                   3
                        that the breach was highly offensive.
                   4
                   5          236. As a direct and proximate result of Defendant LinkedIn’s unlawful

                   6    intrusion upon Plaintiff’s and Class Members’ seclusion, Plaintiff’s and Class
                   7
                        Members’ personal information has been disclosed to LinkedIn, and their reasonable
                   8
                   9    expectations of privacy have been intruded upon and frustrated.

                   10         237. Plaintiff and Class Members have suffered injuries as a result of Defendant
                   11
                        LinkedIn’s conduct, and they are entitled to appropriate relief, including compensatory
                   12
                   13   and punitive damages.
Attorneys at Law
 LOEVY & LOEVY




                   14         238. Moreover, unless and until enjoined and restrained by order of this Court,
                   15
                        Defendant LinkedIn’s wrongful conduct will continue to cause great and irreparable
                   16
                   17   injury to Plaintiff and Class Members in that LinkedIn and others can continue to use
                   18   the unlawfully obtained    personal information to Plaintiff’s and Class Members’
                   19
                        detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries
                   20
                   21   in that a judgment for monetary damages will not end the invasion of privacy for
                   22   Plaintiff and Class Members or require LinkedIn to retrieve the personal information
                   23
                        from the unauthorized entities to which it was disclosed.
                   24
                   25
                   26
                   27
                                                                   - 65 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 66 of 88




                   1                                  COUNT FOURTEEN
                             INVASION OF PRIVACY UNDER CALIFORNIA CONSITUTION –
                   2                               ARTICLE I, SECTION 1
                   3           (On behalf of the California Subclass against Defendant Facebook)

                   4          239. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   5
                        Action Complaint as though fully set forth herein.
                   6
                   7          240. Plaintiff and Class Members had a reasonable expectation of privacy to

                   8    their personal information and were entitled to protection of this information against
                   9
                        disclosure to unauthorized third parties. As such, Plaintiff and Class Members
                   10
                   11   possessed a legally protected privacy interest.

                   12         241. Defendant Facebook intentionally and maliciously intruded upon
                   13
Attorneys at Law




                        Plaintiff’s and Class Members’ privacy rights by surreptitiously learning the contents
 LOEVY & LOEVY




                   14
                   15   and meaning of Plaintiff’s and Class Members’ communications with third-party apps,

                   16   which contents contained personal information and allowed Facebook to identify
                   17
                        Plaintiff and Class Members even if they did not want to be identified. Facebook’s
                   18
                   19   intrusion occurred in a manner highly offensive to a reasonable person, as a reasonable
                   20   person would not expect a third party to surreptitiously learn the contents of the person’s
                   21
                        communications.
                   22
                   23         242. Moreover, as alleged above, Defendant Facebook’s intrusion upon
                   24   Plaintiff’s and Class Members’ privacy rights was so serious as to constitute an
                   25
                        egregious breach of social norms such that the breach was highly offensive.
                   26
                   27
                                                                    - 66 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 67 of 88




                   1          243. As a direct and proximate result of Defendant Facebook’s unlawful

                   2    invasion of Plaintiff’s and Class Members’ privacy, Plaintiff’s and Class Members’
                   3
                        personal information has been disclosed to Facebook, and their reasonable expectations
                   4
                   5    of privacy have been intruded upon and frustrated.

                   6          244. Plaintiff and Class Members have suffered injuries as a result of Defendant
                   7
                        Facebook’s conduct, and they are entitled to appropriate relief, including compensatory
                   8
                   9    and punitive damages.

                   10         245. Moreover, unless and until enjoined and restrained by order of this Court,
                   11
                        Defendant Facebook’s wrongful conduct will continue to cause great and irreparable
                   12
                   13   injury to Plaintiff and Class Members in that Facebook and others can continue to use
Attorneys at Law
 LOEVY & LOEVY




                   14   the unlawfully obtained    personal information to Plaintiff’s and Class Members’
                   15
                        detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries
                   16
                   17   in that a judgment for monetary damages will not end the invasion of privacy for
                   18   Plaintiff and Class Members.
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27
                                                                   - 67 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 68 of 88




                   1                                  COUNT FIFTEEN
                            INVASION OF PRIVACY UNDER CALIFORNIA CONSTITUTION –
                   2                              ARTICLE I, SECTION 1
                   3          (On behalf of the California Subclass against Defendant LinkedIn)

                   4          246. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   5
                        Action Complaint as though fully set forth herein.
                   6
                   7          247. Plaintiff and Class Members had a reasonable expectation of privacy to

                   8    their personal information and were entitled to protection of this information against
                   9
                        disclosure to unauthorized third parties. As such, Plaintiff and Class Members
                   10
                   11   possessed a legally protected privacy interest.

                   12         248. Defendant LinkedIn intentionally and maliciously intruded upon
                   13
Attorneys at Law




                        Plaintiff’s and Class Members’ privacy rights by surreptitiously learning the contents
 LOEVY & LOEVY




                   14
                   15   and meaning of Plaintiff’s and Class Members’ communications with third-party

                   16   platforms, which contents contained personal information and allowed LinkedIn to
                   17
                        identify Plaintiff and Class Members even if they did not want to be identified.
                   18
                   19   LinkedIn’s intrusion occurred in a manner highly offensive to a reasonable person, as a
                   20   reasonable person would not expect a third party to surreptitiously learn the contents of
                   21
                        the person’s communications.
                   22
                   23         249. Moreover, as alleged above, Defendant LinkedIn’s intrusion upon
                   24   Plaintiff’s and Class Members’ privacy rights was so serious as to constitute an
                   25
                        egregious breach of social norms such that the breach was highly offensive.
                   26
                   27
                                                                    - 68 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 69 of 88




                   1          250. As a direct and proximate result of Defendant LinkedIn’s unlawful

                   2    invasion of Plaintiff’s and Class Members’ privacy, Plaintiff’s and Class Members’
                   3
                        personal information has been disclosed to LinkedIn, and their reasonable expectations
                   4
                   5    of privacy have been intruded upon and frustrated.

                   6          251. Plaintiff and Class Members have suffered injuries as a result of Defendant
                   7
                        LinkedIn’s conduct, and they are entitled to appropriate relief, including compensatory
                   8
                   9    and punitive damages.

                   10         252. Moreover, unless and until enjoined and restrained by order of this Court,
                   11
                        Defendant LinkedIn’s wrongful conduct will continue to cause great and irreparable
                   12
                   13   injury to Plaintiff and Class Members in that LinkedIn and others can continue to use
Attorneys at Law
 LOEVY & LOEVY




                   14   the unlawfully obtained personal information to Plaintiff’s and Class Members’
                   15
                        detriment. Plaintiff and Class Members have no adequate remedy at law for the injuries
                   16
                   17   in that a judgment for monetary damages will not end the invasion of privacy for
                   18   Plaintiff and Class Members or require LinkedIn to retrieve the personal information
                   19
                        from the unauthorized entities to which it was disclosed.
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27
                                                                   - 69 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 70 of 88




                   1                                   COUNT SIXTEEN
                                    UNLAWFUL AND UNFAIR BUSINESS PRACTICES
                   2              IN VIOLATION OF BUS. & PROF. CODE § 17200, et seq.
                   3           (On behalf of the California Subclass against Defendant Facebook)

                   4          253. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   5
                        Action Complaint as though fully set forth herein.
                   6
                   7          254. California’s Unfair Competition Law (the “UCL”) prohibits any

                   8    “unlawful, unfair or fraudulent business act or practice and unfair, deceptive, untrue or
                   9
                        misleading advertising.” Cal. Bus. & Prof. Code § 17200.
                   10
                   11         255. Defendant Facebook engaged in unlawful, unfair and fraudulent business

                   12   acts and practices within the meaning of the UCL.
                   13
Attorneys at Law




                              256. Defendant Facebook has engaged in the following unlawful, unfair and
 LOEVY & LOEVY




                   14
                   15   fraudulent business acts and practices:

                   16                a.    Failing to comply with the Wiretap Act, 18 U.S.C. § 2511, as alleged
                   17
                                           above;
                   18
                   19                b.    Failing to comply with the Stored Communications Act, 18 U.S.C.
                   20                      § 2701, as alleged above;
                   21
                                     c.    Failing to comply with the California Invasion of Privacy Act, Cal.
                   22
                   23                      Pen. Code §§ 631-632, as alleged above;
                   24                d.    Intrusion upon seclusion, as alleged above;
                   25
                   26
                   27
                                                                    - 70 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 71 of 88




                   1                 e.    Invasion of privacy under the California Constitution, Art. I, § 1, as

                   2                       alleged above;
                   3
                                     f.    Failing to comply with the § 1798.100(b) of the CCPA;
                   4
                   5                 g.    Failing to comply with § 5 of the FTC Act (15 U.S.C. § 45);

                   6                 h.    Unfair competition in lessening the value of Plaintiff’s and Class
                   7
                                           Members’ personal information, which they could sell elsewhere;
                   8
                   9                 i.    Omitting, suppressing and concealing that it did not comply with

                   10                      common law and statutory duties pertaining to Plaintiff’s and Class
                   11
                                           Members’ personal information, including duties imposed by the
                   12
                   13                      Wiretap Act, 18 U.S.C. § 2511; the Stored Communications Act, 18
Attorneys at Law
 LOEVY & LOEVY




                   14                      U.S.C. § 2701; California Constitution, Art. I, § I; the California
                   15
                                           Invasion of Privacy Act, Cal. Pen. Code §§ 631-632; the CCPA, Cal.
                   16
                   17                      Civ. Code § 1798.100(b); and § 5 of the FTC Act, 15 U.S.C. § 45.
                   18         257. With respect to Defendant Facebook’s violations of the CCPA, pursuant
                   19
                        to Cal. Civ. Code § 1798.100(b), a business: (a) “that collects a consumer’s personal
                   20
                   21   information shall, at or before the point of collection, inform customers as to the
                   22   categories of personal information to be collected and the purposes for which the
                   23
                        categories of personal information shall be used”; and (b) “shall not collect additional
                   24
                   25   categories of personal information or use personal information collected for additional
                   26
                   27
                                                                   - 71 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                              Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 72 of 88




                   1    purposes without providing the consumer with notice consistent with this section.” Cal.

                   2    Civ. Code § 1798.100(b).
                   3
                               258. Section 1798.140(o)(1) defines “personal information” as “information
                   4
                   5    that identifies, relates to, describes, is reasonably capable of being associated with, or

                   6    could reasonably be linked, directly or indirectly, with a particular consumer or
                   7
                        household,” Cal. Civ. Code § 1798.140(o)(1). Personal information includes, but is not
                   8
                   9    limited to:

                   10                  (A) Identifiers such as a real name, alias, postal address, unique
                   11                  personal identifier, online identifier, internet protocol address, email
                                       address, account name, social security number, driver’s license
                   12                  number, passport number, or other similar identifiers.
                   13
Attorneys at Law




                                                                    *     *     *
 LOEVY & LOEVY




                   14
                   15                  (F) Internet or other electronic network activity information,
                                       including, but not limited to, browsing history, search history, and
                   16                  information regarding a consumer’s interaction with an internet
                   17                  website, application, or advertisement.
                   18                  (G) Geolocation data.
                   19   Id.
                   20
                               259. Plaintiff and Class Members are consumers under the CCPA. See Cal. Civ.
                   21
                   22   Code § 1798.140(g).
                   23          260. Defendant Facebook is a business under the CCPA. See Cal. Civ. Code §
                   24
                        1798.140(c).
                   25
                   26
                   27
                                                                      - 72 -
                   28                                 FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 73 of 88




                   1          261. As alleged herein, in violation of the CCPA, Defendant Facebook

                   2    collected Plaintiff’s and Class Members’ personal information but failed to provide
                   3
                        Plaintiff and Class Members with the information required by the CCPA, namely
                   4
                   5    Facebook failed to accurately inform Plaintiff and Class Members as to the categories

                   6    of personal information to be collected and the purposes for which the categories of
                   7
                        personal information were to be used.
                   8
                   9          262. As alleged herein, Defendant Facebook further violated the CCPA by

                   10   using the personal information it collected from Plaintiff and Class Members for
                   11
                        undisclosed purposes without providing the requisite notice.
                   12
                   13         263. With respect to Defendant Facebook’s violation of § 5 of the FTC Act, the
Attorneys at Law
 LOEVY & LOEVY




                   14   FTC has brought numerous actions against businesses for their unfair and deceptive
                   15
                        practices in harvesting personal information from a software application.
                   16
                   17         264. At relevant times, Defendant Facebook knew of its obligations to act fairly
                   18   and honestly in its business dealings and not to violate § 5 of the FTC Act.
                   19
                              265. Defendant Facebook’s conduct with respect to Plaintiff’s and Class
                   20
                   21   Members’ personal information constituted an unfair and deceptive practice in violation
                   22   of § 5 of the FTC Act.
                   23
                              266. Defendant Facebook’s above-described conduct constituted unfair
                   24
                   25   practices in violation of the UCL because the practices and acts: (a) were immoral,
                   26
                   27
                                                                    - 73 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 74 of 88




                   1    unethical, oppressive, unscrupulous and substantially injurious to Plaintiff and Class

                   2    Members; and (b) violated established public policy. These acts caused substantial
                   3
                        injury to Plaintiff and Class Members; this substantial injury outweighed any benefits
                   4
                   5    to competition or the purpose of such conduct, and there were reasonably available

                   6    alternatives to further Facebook’s legitimate business interests.
                   7
                              267. By collecting, disclosing and using Plaintiff’s and Class Members’
                   8
                   9    personal information in ways that Plaintiff and Class Members did not know of or

                   10   consent to, Defendant Facebook engaged in fraudulent business practices that were
                   11
                        likely to deceive a reasonable consumer.
                   12
                   13         268. A reasonable person would not have agreed to use the various third-party
Attorneys at Law
 LOEVY & LOEVY




                   14   apps at issue had Defendant Facebook not concealed, omitted and suppressed the truth
                   15
                        about its practices, as alleged herein. By withholding material information about its
                   16
                   17   practices, Facebook deceived customers into using products that allowed Facebook to
                   18   surreptitiously collect Plaintiff’s and Class Members’ personal information.
                   19
                        Accordingly, Facebook’s conduct also was fraudulent within the meaning of the UCL.
                   20
                   21         269. As a result of Defendant Facebook’s violations of the UCL, Plaintiff and
                   22   Class Members have suffered an injury-in-fact and have lost money and property.
                   23
                        Plaintiff and Class Members are entitled to restitution and disgorgement, declaratory
                   24
                   25   and other equitable relief.
                   26
                   27
                                                                      - 74 -
                   28                                 FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 75 of 88




                   1          270. Moreover, Plaintiff and Class Members are entitled to injunctive relief.

                   2    Unless and until enjoined and restrained by order of this Court, Defendant Facebook’s
                   3
                        wrongful conduct will continue to cause great and irreparable injury to Plaintiff and
                   4
                   5    Class Members in that Facebook and others can continue to use the unlawfully obtained

                   6    personal information to Plaintiff’s and Class Members’ detriment. Plaintiff and Class
                   7
                        Members have no adequate remedy at law for the injuries in that a judgment for
                   8
                   9    monetary damages will not end the invasion of privacy for Plaintiff and Class Members.

                   10                                 COUNT SEVENTEEN
                   11                UNLAWFUL AND UNFAIR BUSINESS PRACTICES
                                   IN VIOLATION OF BUS. & PROF. CODE § 17200, et seq.
                   12           (On behalf of the California Subclass against Defendant LinkedIn)
                   13
Attorneys at Law




                              271. Plaintiff restates and realleges all paragraphs of this First Amended Class
 LOEVY & LOEVY




                   14
                   15   Action Complaint as though fully set forth herein.

                   16         272. California’s Unfair Competition Law (the “UCL”) prohibits any
                   17
                        “unlawful, unfair or fraudulent business act or practice and unfair, deceptive, untrue or
                   18
                   19   misleading advertising.” Cal. Bus. & Prof. Code § 17200.
                   20         273. Defendant LinkedIn engaged in unlawful, unfair and fraudulent business
                   21
                        acts and practices within the meaning of the UCL.
                   22
                   23         274. Defendant LinkedIn has engaged in the following unlawful, unfair and
                   24   fraudulent business acts and practices:
                   25
                   26
                   27
                                                                    - 75 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                        Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 76 of 88




                   1           a.    Violation of the Wiretap Act, 18 U.S.C. § 2511, as alleged above;

                   2           b.    Violation of the Stored Communications Act, 18 U.S.C. § 2701, as
                   3
                                     alleged above;
                   4
                   5           c.    Failing to comply with the California Invasion of Privacy Act, Cal.

                   6                 Pen. Code §§ 631-632, as alleged above;
                   7
                               d.    Intrusion upon seclusion, as alleged above;
                   8
                   9           e.    Invasion of privacy under the California Constitution, Art. I, § 1, as

                   10                alleged above;
                   11
                               f.    Failing to comply with § 1798.100(b) of the CCPA;
                   12
                   13          g.    Failing to comply with § 5 of the FTC Act (15 U.S.C. § 45);
Attorneys at Law
 LOEVY & LOEVY




                   14          h.    Unfair competition in lessening the value of Plaintiff’s and Class
                   15
                                     Members’ personal information, which they could sell elsewhere;
                   16
                   17          i.    Omitting, suppressing and concealing that it did not comply with
                   18                common law and statutory duties pertaining to Plaintiff’s and Class
                   19
                                     Members’ personal information, including duties imposed by the
                   20
                   21                Wiretap Act, 18 U.S.C. § 2511; the Stored Communications Act, 18
                   22                U.S.C. § 2701; California Constitution, Art. I, § I; the California
                   23
                                     Invasion of Privacy Act, Cal. Pen. Code §§ 631-632; the CCPA, Cal.
                   24
                   25                Civ. Code § 1798.100(b); and § 5 of the FTC Act, 15 U.S.C. § 45.
                   26
                   27
                                                             - 76 -
                   28                        FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 77 of 88




                   1          275. With respect to Defendant LinkedIn’s violations of the CCPA, pursuant to

                   2    Cal. Civ. Code § 1798.100(b), a business: (a) “that collects a consumer’s personal
                   3
                        information shall, at or before the point of collection, inform customers as to the
                   4
                   5    categories of personal information to be collected and the purposes for which the

                   6    categories of personal information shall be used”; and (b) “shall not collect additional
                   7
                        categories of personal information or use personal information collected for additional
                   8
                   9    purposes without providing the consumer with notice consistent with this section.” Cal.

                   10   Civ. Code § 1798.100(b).
                   11
                              276. Cal. Civ. Code § 1798.140(o)(1) defines “personal information” as
                   12
                   13   “information that identifies, relates to, describes, is reasonably capable of being
Attorneys at Law
 LOEVY & LOEVY




                   14   associated with, or could reasonably be linked, directly or indirectly, with a particular
                   15
                        consumer or household,” Cal. Civ. Code § 1798.140(o)(1). Personal information
                   16
                   17   includes, but is not limited to:
                   18                (A) Identifiers such as a real name, alias, postal address, unique
                   19                personal identifier, online identifier, internet protocol address, email
                                     address, account name, social security number, driver’s license
                   20                number, passport number, or other similar identifiers.
                   21
                                                                   *     *     *
                   22
                   23                (F) Internet or other electronic network activity information,
                                     including, but not limited to, browsing history, search history, and
                   24
                   25
                   26
                   27
                                                                     - 77 -
                   28                                FIRST AMENDED CLASS ACTION COMPLAINT
                              Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 78 of 88




                   1                   information regarding a consumer’s interaction with an internet
                                       website, application, or advertisement.
                   2
                   3                   (G) Geolocation data.

                   4    Id.
                   5
                               277. Plaintiff and Class Members are consumers under the CCPA. See Cal. Civ.
                   6
                   7    Code § 1798.140(g).

                   8           278. Defendant LinkedIn is a business under the CCPA. See Cal. Civ. Code §
                   9
                        1798.140(c).
                   10
                   11          279. As alleged herein, in violation of the CCPA, Defendant LinkedIn collected

                   12   Plaintiff’s and Class Members’ personal information but failed to provide Plaintiff and
                   13
Attorneys at Law




                        Class Members with the information required by the CCPA, namely, LinkedIn failed to
 LOEVY & LOEVY




                   14
                   15   accurately inform Plaintiff and Class Members as to the categories of personal

                   16   information to be collected and the purposes for which the categories of personal
                   17
                        information were to be used.
                   18
                   19          280. As alleged herein, Defendant LinkedIn further violated the CCPA by using
                   20   the personal information it collected from Plaintiff and Class Members for undisclosed
                   21
                        purposes without providing the requisite notice.
                   22
                   23          281. With respect to Defendant LinkedIn’s violation of § 5 of the FTC Act, the
                   24   FTC has brought numerous actions against businesses for their unfair and deceptive
                   25
                        practices in harvesting personal information from a software application.
                   26
                   27
                                                                    - 78 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 79 of 88




                   1          282. At relevant times, Defendant LinkedIn knew of its obligations to act fairly

                   2    and honestly in its business dealings and not to violate § 5 of the FTC Act.
                   3
                              283. Defendant LinkedIn’s conduct with respect to Plaintiff’s and Class
                   4
                   5    Members’ personal information constituted an unfair and deceptive practice in violation

                   6    of § 5 of the FTC Act.
                   7
                              284. Defendant LinkedIn’s above-described conduct constituted unfair
                   8
                   9    practices in violation of the UCL because the practices and acts: (a) were immoral,

                   10   unethical, oppressive, unscrupulous and substantially injurious to Plaintiff and Class
                   11
                        Members; and (b) violated established public policy. These acts caused substantial
                   12
                   13   injury to Plaintiff and Class Members; this substantial injury outweighed any benefits
Attorneys at Law
 LOEVY & LOEVY




                   14   to competition or the purpose of such conduct, and there were reasonably available
                   15
                        alternatives to further LinkedIn’s legitimate business interests.
                   16
                   17         285. By collecting, disclosing and using Plaintiff’s and California Subclass
                   18   Members’ personal information in ways that Plaintiff and Class Members did not know
                   19
                        of or consent to, Defendant LinkedIn engaged in fraudulent business practices that were
                   20
                   21   likely to deceive a reasonable consumer.
                   22         286. A reasonable person would not have agreed to use the various third-party
                   23
                        platforms at issue had Defendant LinkedIn not concealed, omitted and suppressed the
                   24
                   25   truth about its practices, as alleged herein. By withholding material information about
                   26
                   27
                                                                    - 79 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                             Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 80 of 88




                   1    its practices, LinkedIn deceived customers into using products that allowed LinkedIn

                   2    to surreptitiously collect Plaintiff’s and Class Members’ personal information.
                   3
                        Accordingly, LinkedIn’s conduct also was fraudulent within the meaning of the UCL.
                   4
                   5          287. As a result of Defendant LinkedIn’s violations of the UCL, Plaintiff and

                   6    Class Members have suffered injury-in-fact and have lost money and property. Plaintiff
                   7
                        and Class Members are entitled to restitution and disgorgement, declaratory and other
                   8
                   9    equitable relief.

                   10         288. Moreover, Plaintiff and Class Members are entitled to injunctive relief.
                   11
                        Unless and until enjoined and restrained by order of this Court, Defendant LinkedIn’s
                   12
                   13   wrongful conduct will continue to cause great and irreparable injury to Plaintiff and
Attorneys at Law
 LOEVY & LOEVY




                   14   Class Members in that LinkedIn and others can continue to use the unlawfully obtained
                   15
                        personal information to Plaintiff’s and Class Members’ detriment. Plaintiff and Class
                   16
                   17   Members have no adequate remedy at law for the injuries in that a judgment for
                   18   monetary damages will not end the invasion of privacy for Plaintiff and Class Members
                   19
                        or require LinkedIn to retrieve the personal information from the unauthorized entities
                   20
                   21   to which it was disclosed.
                   22
                   23
                   24
                   25
                   26
                   27
                                                                     - 80 -
                   28                                FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 81 of 88




                   1                                   COUNT EIGHTEEN
                                                   TRESPASS TO CHATTELS
                   2                (On behalf of the Nationwide Class against all Defendants)
                   3
                              289. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   4
                   5    Action Complaint as though fully set forth herein.

                   6          290. Defendants Facebook and LinkedIn, intentionally and without consent or
                   7
                        other legal justification, installed code on Plaintiff’s and Class Members’ devices that
                   8
                   9    enabled Defendants to collect, disclose and use Plaintiff’s and Class Members’ personal

                   10   information in unauthorized ways and for unauthorized purposes.
                   11
                              291. Defendants’ conduct as alleged in the paragraph above interfered with
                   12
                   13   Plaintiff’s and Class Members’ use of the following property owned by Plaintiff and
Attorneys at Law
 LOEVY & LOEVY




                   14   Class Members: (a) their computers; (b) their mobile devices; and (c) their personal
                   15
                        information.
                   16
                   17         292. Plaintiff and Class Members have suffered injuries as a result of
                   18   Defendants’ conduct, and they are entitled to appropriate relief, including compensatory
                   19
                        damages.
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27
                                                                   - 81 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 82 of 88




                   1                                    COUNT NINETEEN
                                                     UNJUST ENRICHMENT
                   2                   (On behalf of all Classes against Defendant Facebook)
                   3
                              293. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   4
                   5    Action Complaint as though fully set forth herein.

                   6          294. Plaintiff and Class Members conferred a monetary benefit on Defendant
                   7
                        Facebook – namely, among other things, Facebook used their personal information to
                   8
                   9    amass increasingly detailed profiles of Plaintiff and Class Members and used those

                   10   profiles to increase its advertising revenues.
                   11
                              295. Plaintiff and Class Members did not authorize or otherwise consent to
                   12
                   13   Defendant Facebook unlawfully intercepting and/or using their personal information.
Attorneys at Law
 LOEVY & LOEVY




                   14         296. Defendant Facebook appreciated, accepted and retained the benefit
                   15
                        bestowed upon it under inequitable and unjust circumstances arising from Facebook’s
                   16
                   17   conduct toward Plaintiff and Class Members as described herein – namely: (a) Plaintiff
                   18   and Class Members conferred a benefit on Facebook, and Facebook accepted or
                   19
                        retained that benefit; and (b) Facebook used Plaintiff’s and Class Members’ personal
                   20
                   21   information for business purposes – namely, it intercepted and/or used the information
                   22   to increase its advertising revenues.
                   23
                              297. Defendant Facebook did not provide full compensation for the benefit
                   24
                   25   Plaintiff and Class Members conferred upon it.
                   26
                   27
                                                                    - 82 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 83 of 88




                   1          298. Defendant Facebook acquired Plaintiff’s and Class Members’ personal

                   2    information through inequitable means in that it surreptitiously obtained the
                   3
                        information to Plaintiff’s and Class Members’ detriment.
                   4
                   5          299. Plaintiff and Class Members have no adequate remedy at law.

                   6          300. Under the circumstances, it would be unjust and unfair for Defendant
                   7
                        Facebook to be permitted to retain any of the benefits that Plaintiff and Class Members
                   8
                   9    conferred on it.

                   10         301. Under the principles of equity and good conscience, Defendant Facebook
                   11
                        should not be permitted to retain the personal information belonging to Plaintiff and
                   12
                   13   Class Members because Facebook obtained that information under false pretenses.
Attorneys at Law
 LOEVY & LOEVY




                   14         302. Defendant Facebook should be compelled to disgorge into a common fund
                   15
                        or constructive trust, for the benefit of Plaintiff and Class Members, proceeds that it
                   16
                   17   unjustly received from the sale of Plaintiff’s and Class Members’ personal information.
                   18                                    COUNT TWENTY
                   19                                UNJUST ENRICHMENT
                                       (On behalf of all Classes against Defendant LinkedIn)
                   20
                   21         303. Plaintiff restates and realleges all paragraphs of this First Amended Class
                   22   Action Complaint as though fully set forth herein.
                   23
                              304. Plaintiff and Class Members conferred a monetary benefit on Defendant
                   24
                   25   LinkedIn – namely, among other things, LinkedIn used their personal information to
                   26
                   27
                                                                   - 83 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 84 of 88




                   1    increase the revenues derived from Navigator to increase the sales of its other services

                   2    and products.
                   3
                              305. Plaintiff and Class Members did not authorize or otherwise consent to
                   4
                   5    Defendant LinkedIn unlawfully intercepting, using and/or disclosing their personal

                   6    information.
                   7
                              306. Defendant LinkedIn appreciated, accepted and retained the benefit
                   8
                   9    bestowed upon it under inequitable and unjust circumstances arising from LinkedIn’s

                   10   conduct toward Plaintiff and Class Members as described herein – namely: (a) Plaintiff
                   11
                        and Class Members conferred a benefit on LinkedIn, and LinkedIn accepted or retained
                   12
                   13   that benefit; and (b) LinkedIn used Plaintiff’s and Class Members’ personal information
Attorneys at Law
 LOEVY & LOEVY




                   14   for business purposes – namely, it intercepted, used and/or disclosed the information to
                   15
                        generate increased revenues.
                   16
                   17         307. Defendant LinkedIn did not provide full compensation for the benefit
                   18   Plaintiff and Class Members conferred upon it.
                   19
                              308. Defendant LinkedIn acquired Plaintiff’s and Class Members’ personal
                   20
                   21   information through inequitable means in that in that it surreptitiously obtained the
                   22   information to Plaintiff’s and Class Members’ detriment.
                   23
                              309. Plaintiff and Class Members have no adequate remedy at law.
                   24
                   25
                   26
                   27
                                                                   - 84 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 85 of 88




                   1          310. Under the circumstances, it would be unjust and unfair for Defendant

                   2    LinkedIn to be permitted to retain any of the benefits that Plaintiff and Class Members
                   3
                        conferred on it.
                   4
                   5          311. Under the principles of equity and good conscience, Defendant LinkedIn

                   6    should not be permitted to retain the personal information belonging to Plaintiff and
                   7
                        Class Members because LinkedIn obtained that information under false pretenses.
                   8
                   9          312. Defendant LinkedIn should be compelled to disgorge into a common fund

                   10   or constructive trust, for the benefit of Plaintiff and Class Members, proceeds that it
                   11
                        unjustly received from the sale of Plaintiff’s and Class Members’ personal information.
                   12
                   13                                 PRAYER FOR RELIEF
Attorneys at Law
 LOEVY & LOEVY




                   14         WHEREFORE, Plaintiff Todd Hurvitz, on behalf of himself and on behalf of the
                   15
                        all Class Members, respectfully seeks from the Court the following relief:
                   16
                   17                a.    Certification of the Classes as requested herein;
                   18                b.    Appointment of Plaintiff as Class representative and his
                   19
                                           undersigned counsel as Class counsel;
                   20
                   21                c.    Award    Plaintiff   and   members     of      the   proposed   Classes
                   22                      compensatory, statutory and punitive damages;
                   23
                                     d.    Award Plaintiff and members of the proposed Classes equitable,
                   24
                   25                      injunctive and declaratory relief;
                   26
                   27
                                                                   - 85 -
                   28                              FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 86 of 88




                   1                e.     Award Plaintiff and members of the proposed Classes pre-judgment

                   2                       and post-judgment interest as permitted by law;
                   3
                                    f.     Award Plaintiff and members of the proposed Classes reasonable
                   4
                   5                       attorneys’ fees and costs of suit; including expert witness fees; and

                   6                g.     Award Plaintiff and members of the proposed Classes any further
                   7
                                           relief the Court deems proper.
                   8
                   9                               DEMAND FOR JURY TRIAL

                   10         Plaintiffs demand a jury trial on all claims so triable.
                   11
                        Dated: May 12, 2020
                   12
                                                                       Respectfully submitted,
                   13
Attorneys at Law




                                                                       TODD HURVITZ
 LOEVY & LOEVY




                   14
                   15                                           By:    /s/ Scott R. Drury
                                                                       SCOTT R. DRURY
                   16                                                  One of Plaintiff’s Attorneys
                   17
                        David B. Owens (david@loevy.com)
                   18   Mike Kanovitz (mike@loevy.com) (pro hac vice)
                   19   Scott R. Drury (drury@loevy.com) (pro hac vice)
                        LOEVY & LOEVY
                   20
                        311 N. Aberdeen, 3rd Floor
                   21   Chicago, Illinois 60607
                        (312) 243-5900 (phone)
                   22
                        (312) 243-5902 (fax)
                   23
                   24
                   25
                   26
                   27
                                                                    - 86 -
                   28                               FIRST AMENDED CLASS ACTION COMPLAINT
                            Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 87 of 88




                   1    Marci L. Miller (marci@milleradvocacy.com)
                        Christina N. Hoffman (choffman@milleradvocacy.com)
                   2    MILLER ADVOACY GROUP PC
                   3    1303 Avocado Ave., Suite 230
                        Newport Beach, California 92660
                   4    (949) 706-9734 (phone)
                   5    (949) 266-8069 (fax)

                   6    Counsel for Plaintiff
                   7
                   8
                   9
                   10
                   11
                   12
                   13
Attorneys at Law
 LOEVY & LOEVY




                   14
                   15
                   16
                   17
                   18
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27
                                                                - 87 -
                   28                           FIRST AMENDED CLASS ACTION COMPLAINT
                        Case 5:20-cv-03258-LHK Document 39 Filed 05/12/20 Page 88 of 88




                   1                             CERTIFICATE OF SERVICE

                   2            Scott R. Drury, an attorney, certifies that on May 12, 2020, he served a
                   3     true and correct copy of the foregoing document using the Court’s CM/ECF
                         system, which effected service on all counsel of record.
                   4
                   5                                     /s/ Scott R. Drury
                                                         SCOTT R. DRURY
                   6
                   7
                   8
                   9
                   10
                   11
                   12
                   13
Attorneys at Law
 LOEVY & LOEVY




                   14
                   15
                   16
                   17
                   18
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27
                   28                         FIRST AMENDED CLASS ACTION COMPLAINT
